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 Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
 M. Douglas Flahaut SBN 245558
 ECHO PARK LEGAL, APC
 2210 Sunset Blvd. #301
 Los Angeles, CA 90026
 (310) 709-0658
 df@echoparklegal.com




     Individual appearing without attorney
     Attorney for: Victor Medeiros

                                        UNITED STATES BANKRUPTCY COURT
                          CENTRAL DISTRICT OF CALIFORNIA - SAN FERNANDO VALLEY DIVISION

 In re:                                                                      CASE NO.: 1:24-bk-10646-MB
 SYNAPSE FINANCIAL TECHNOLOGIES, INC.                                        CHAPTER: 11

                                                                                    NOTICE OF MOTION AND MOTION FOR
                                                                                    RELIEF FROM THE AUTOMATIC STAY
                                                                                           UNDER 11 U.S.C. § 362
                                                                                       (with supporting declarations)
                                                                                   (ACTION IN NONBANKRUPTCY FORUM)

                                                                             DATE: 02/11/2025
                                                                             TIME: 10:00 a.m.
                                                                             COURTROOM: 303 & ZoomGov (Info below and at http://ecf-
                                                              Debtor(s).                          ciao.cacb.uscourts.gov/kioskPDF/MB_021125.pdf.

 Movant: Victor Medeiros


1. Hearing Location:
      255 East Temple Street, Los Angeles, CA 90012                                       411 West Fourth Street, Santa Ana, CA 92701
      21041 Burbank Boulevard, Woodland Hills, CA 91367                                   1415 State Street, Santa Barbara, CA 93101
      3420 Twelfth Street, Riverside, CA 92501

2. Notice is given to the Debtor and trustee (if any)(Responding Parties), their attorneys (if any), and other interested
   parties that on the date and time and in the courtroom stated above, Movant will request that this court enter an order
   granting relief from the automatic stay as to Debtor and Debtor’s bankruptcy estate on the grounds set forth in the
   attached Motion.

3. To file a response to the motion, you may obtain an approved court form at www.cacb.uscourts.gov/forms for use in
   preparing your response (optional LBR form F 4001-1.RFS.RESPONSE), or you may prepare your response using
   the format required by LBR 9004-1 and the Court Manual.



            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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4. When serving a response to the motion, serve a copy of it upon the Movant's attorney (or upon Movant, if the motion
   was filed by an unrepresented individual) at the address set forth above.

5. If you fail to timely file and serve a written response to the motion, or fail to appear at the hearing, the court may deem
   such failure as consent to granting of the motion.

6.        This motion is being heard on REGULAR NOTICE pursuant to LBR 9013-1(d). If you wish to oppose this motion,
          you must file and serve a written response to this motion no later than 14 days before the hearing and appear at
          the hearing.

7.        This motion is being heard on SHORTENED NOTICE pursuant to LBR 9075-1(b). If you wish to oppose this
          motion, you must file and serve a response no later than (date)     and (time)               ; and, you
          may appear at the hearing.

     a.        An application for order setting hearing on shortened notice was not required (according to the calendaring
               procedures of the assigned judge).

     b.        An application for order setting hearing on shortened notice was filed and was granted by the court and such
               motion and order have been or are being served upon the Debtor and upon the trustee (if any).

     c.        An application for order setting hearing on shortened notice was filed and remains pending. After the court
               rules on that application, you will be served with another notice or an order that specifies the date, time and
               place of the hearing on the attached motion and the deadline for filing and serving a written opposition to the
               motion.


     Date: 01/21/2025                                                              ECHO PARK LEGAL, APC
                                                                                   Printed name of law firm (if applicable)

                                                                                   M. Douglas Flauaut
                                                                                   Printed name of individual Movant or attorney for Movant



                                                                                   /s/ M. Douglas Flahaut
                                                                                   _____________________________________________
                                                                                   Signature of individual Movant or attorney for Movant




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    MOTION FOR RELIEF FROM THE AUTOMATIC STAY AS TO NONBANKRUPTCY ACTION


1. In the Nonbankruptcy Action, Movant is:
    a.         Plaintiff
    b.         Defendant
    c.         Other (specify): Subpoena Respondent

2. The Nonbankruptcy Action: There is a pending lawsuit or administrative proceeding (Nonbankruptcy Action)
   involving the Debtor or the Debtor’s bankruptcy estate:

    a. Name of Nonbankruptcy Action: N/A
    b. Docket number: N/A
    c. Nonbankruptcy forum where Nonbankruptcy Action is pending:
       United States District Court for the Southern District of New York
    d. Causes of action or claims for relief (Claims):
       N/A - Grand jury investigation.

3. Bankruptcy Case History:

    a.         A voluntary      An involuntary petition under chapter                       7        11     12       13
               was filed on (date) 04/22/2024 .

    b.         An order to convert this case to chapter                 7      11     12        13
               was entered on (date)                .

    c.         A plan was confirmed on (date)                            .

4. Grounds for Relief from Stay: Pursuant to 11 U.S.C. § 362(d)(1), cause exists to grant Movant relief from stay to
   proceed with the Nonbankruptcy Action to final judgment in the nonbankruptcy forum for the following reasons:

    a.         Movant seeks recovery only from applicable insurance, if any, and waives any deficiency or other claim
               against the Debtor or property of the Debtor’s bankruptcy estate.

    b.         Movant seeks recovery primarily from third parties and agrees that the stay will remain in effect as to
               enforcement of any resulting judgment against the Debtor or bankruptcy estate, except that Movant will retain
               the right to file a proof of claim under 11 U.S.C. § 501 and/or an adversary complaint under 11 U.S.C. § 523
               or § 727 in this bankruptcy case.

    c.         Mandatory abstention applies under 28 U.S.C. § 1334(c)(2), and Movant agrees that the stay will remain in
               effect as to enforcement of any resulting judgment against the Debtor or bankruptcy estate, except that
               Movant will retain the right to file a proof of claim under 11 U.S.C. § 501 and/or an adversary complaint under
               11 U.S.C. § 523 or § 727 in this bankruptcy case.

    d.         The Claims are nondischargeable in nature and can be most expeditiously resolved in the nonbankruptcy
               forum.

    e.         The Claims arise under nonbankruptcy law and can be most expeditiously resolved in the nonbankruptcy
               forum.




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     f.        The bankruptcy case was filed in bad faith.

               (1)       Movant is the only creditor, or one of very few creditors, listed or scheduled in the Debtor’s case
                         commencement documents.
               (2)       The timing of the filing of the bankruptcy petition indicates that it was intended to delay or interfere
                         with the Nonbankruptcy Action.
               (3)       Multiple bankruptcy cases affect the Nonbankruptcy Action.

               (4)       The Debtor filed only a few case commencement documents. No schedules or statement of financial
                         affairs (or chapter 13 plan, if appropriate) has been filed.

     g.        Other (specify):
               Movant, an insured under Debtor's D&O insurance policy, requests order authorizing payment of policy
               proceeds. Proceeds are not estate property; alternatively, balance of hardships justifies terminating stay.
5. Grounds for Annulment of Stay. Movant took postpetition actions against the Debtor.

     a.        The actions were taken before Movant knew that the bankruptcy case had been filed, and Movant would have
               been entitled to relief from stay to proceed with these actions.

     b.        Although Movant knew the bankruptcy case was filed, Movant previously obtained relief from stay to proceed
               in the Nonbankruptcy Action in prior bankruptcy cases affecting the Nonbankruptcy Action as set forth in
               Exhibit.     .

     c.        Other (specify):



6. Evidence in Support of Motion: (Important Note: declaration(s) in support of the Motion MUST be signed
   under penalty of perjury and attached to this motion.)

     a.        The DECLARATION RE ACTION IN NONBANKRUPTCY FORUM on page 6.

     b.        Supplemental declaration(s).

     c.        The statements made by Debtor under penalty of perjury concerning Movant’s claims as set forth in Debtor’s
               case commencement documents. Authenticated copies of the relevant portions of the Debtor’s case
               commencement documents are attached as Exhibit.         .

     d.        Other evidence (specify):
               Insurance policy documents and coverage position letter, attached to and authenticated by Declaration of
               Anden Chow.
7.        An optional Memorandum of Points and Authorities is attached to this Motion.

Movant requests the following relief:

1. Relief from the stay pursuant to 11 U.S.C. § 362(d)(1).

2.        Movant may proceed under applicable nonbankruptcy law to enforce its remedies to proceed to final judgment in
          the nonbankruptcy forum, provided that the stay remains in effect with respect to enforcement of any judgment
          against the Debtor or property of the Debtor’s bankruptcy estate.

3.        The stay is annulled retroactively to the bankruptcy petition date. Any postpetition acts taken by Movant in the
          Nonbankruptcy Action shall not constitute a violation of the stay.




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4.      The co-debtor stay of 11 U.S.C. § 1201(a) or § 1301(a) is terminated, modified, or annulled as to the co-debtor,
        on the same terms and condition as to the Debtor.

5.      The 14-day stay prescribed by FRBP 4001(a)(3) is waived.

6.      The order is binding and effective in any bankruptcy case commenced by or against the Debtor for a period of 180
        days, so that no further automatic stay shall arise in that case as to the Nonbankruptcy Action.

7.      The order is binding and effective in any future bankruptcy case, no matter who the debtor may be, without further
        notice

8.      Other relief requested.



Date: 01/21/2025                                                        ECHO PARK LEGAL, APC
                                                                        Printed name of law firm (if applicable)

                                                                        M. Douglas Flahaut
                                                                        Printed name of individual Movant or attorney for Movant



                                                                         /s/ M. Douglas Flahaut
                                                                        ___________________________________________________
                                                                        Signature of individual Movant or attorney for Movant




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                             DECLARATION RE ACTION IN NONBANKRUPTCY FORUM
I, (name of Declarant) Anden Chow                                                                                         , declare as follows:

1. I have personal knowledge of the matters set forth in this declaration and, if called upon to testify, I could and would
   competently testify thereto. I am over 18 years of age. I have knowledge regarding (Nonbankruptcy Action) because:

         I am the Movant.
         I am Movant’s attorney of record in the Nonbankruptcy Action.
         I am employed by Movant as (title and capacity):
         Other (specify):

2. I am one of the custodians of the books, records and files of Movant as to those books, records and files that pertain
   to the Nonbankruptcy Action. I have personally worked on books, records and files, and as to the following facts,
   I know them to be true of my own knowledge or I have gained knowledge of them from the business records of
   Movant on behalf of Movant, which were made at or about the time of the events recorded, and which are maintained
   in the ordinary course of Movant’s business at or near the time of the acts, conditions or events to which they relate.
   Any such document was prepared in the ordinary course of business of Movant by a person who had personal
   knowledge of the event being recorded and had or has a business duty to record accurately such event. The
   business records are available for inspection and copies can be submitted to the court if required.

3. In the Nonbankruptcy Action, Movant is:

         Plaintiff
         Defendant
         Other (specify): Subpoena Respondent

4. The Nonbankruptcy Action is pending as:

    a. Name of Nonbankruptcy Action: N/A
    b. Docket number: N/A
    c. Nonbankruptcy court or agency where Nonbankruptcy Action is pending:
       United States District Court for the Southern District of New York

5. Procedural Status of Nonbankruptcy Action:

    a. The Claims are:
       N/A - Grand jury investigation




    b. True and correct copies of the documents filed in the Nonbankruptcy Action are attached as Exhibit                                        .

    c.   The Nonbankruptcy Action was filed on (date)                                 .

    d. Trial or hearing began/is scheduled to begin on (date)                                   .

    e. The trial or hearing is estimated to require                      days (specify).

    f.   Other plaintiffs in the Nonbankruptcy Action are (specify):




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    g. Other defendants in the Nonbankruptcy Action are (specify):



. Grounds for relief from stay:

    a.         Movant seeks recovery primarily from third parties and agrees that the stay will remain in effect as to
               enforcement of any resulting judgment against the Debtor or the Debtor’s bankruptcy estate, except that
               Movant will retain the right to file a proof of claim under 11 U.S.C. § 501 and/or an adversary complaint under
               11 U.S.C. § 523 or § 727 in this bankruptcy case.

    b.         Mandatory abstention applies under 28 U.S.C. § 1334(c)(2), and Movant agrees that the stay will remain in
               effect as to enforcement of any resulting judgment against the Debtor or the Debtor’s bankruptcy estate,
               except that Movant will retain the right to file a proof of claim under 11 U.S.C. § 501 and/or an adversary
               complaint under 11 U.S.C. § 523 or § 727 in this bankruptcy case.
    c.         Movant seeks recovery only from applicable insurance, if any, and waives any deficiency or other claim
               against the Debtor or property of the Debtor’s bankruptcy estate. The insurance carrier and policy number
               are (specify):
                Euclid Financial, Policy No. EFI1203189-02


    d.         The Nonbankruptcy Action can be tried more expeditiously in the nonbankruptcy forum.
               (1)         It is currently set for trial on (date)                      .
               (2)         It is in advanced stages of discovery and Movant believes that it will be set for trial by
                           (date)               . The basis for this belief is (specify):



               (3)         The Nonbankruptcy Action involves non-debtor parties and a single trial in the nonbankruptcy forum
                           is the most efficient use of judicial resources.

    e.         The bankruptcy case was filed in bad faith specifically to delay or interfere with the prosecution of the
               Nonbankruptcy Action.

               (1)         Movant is the only creditor, or one of very few creditors, listed or scheduled in the Debtor’s case
                           commencement documents.

               (2)         The timing of the filing of the bankruptcy petition indicates it was intended to delay or interfere with
                           the Nonbankruptcy Action based upon the following facts (specify):




               (3)         Multiple bankruptcy cases affecting the Property include:

                     (A) Case name:
                         Case number:                                     Chapter:
                         Date ILOed:     'ate GLVFKDUJHG:                         Date dismissed:
                         Relief from stay regarding this Nonbankruptcy Action                      was    was not granted.




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4
     Attorney for Movant Victor Medeiros
5
6                                UNITED STATES BANKRUPTCY COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
7
                                   SAN FERNANDO VALLEY DIVISION
8
9     In re                                         Case No. 1:24-bk-10646-MB

10    SYNAPSE FINANCIAL TECHNOLOGIES,               Chapter 11
      INC.,
11                                                  MEMORANDUM OF POINTS &
                       Debtor.                      AUTHORITIES AND DECLARATION IN
12                                                  SUPPORT OF MOTION FOR RELIEF
                                                    FROM STAY OR, IN THE ALTERNATIVE,
13                                                  FOR AN ORDER CONFIRMING THE
                                                    AUTOMATIC STAY DOES NOT
14                                                  PROHIBIT THE PAYMENT OF
                                                    INSURANCE PROCEEDS TO MOVANT
15
                                                    Date:    February 11, 2025
16                                                  Time:    10:00 a.m. PST
                                                    Place:   Courtroom 303
17                                                           21041 Burbank Boulevard
                                                             Woodland Hills, CA 91367
18
                                                                 Zoom Information
19
                                                Web Address: https://cacb.zoomgov.com/j/1601291562
20                                              Meeting No.: 160 129 1562
                                                Password: 098151
21
                                                Telephone Conference Lines: +1 (669) 254 -252 or
22                                              +1 (646) 828-7666
23
24
25
26
27
28
      MEMORANDUM OF POINTS & AUTHORITIES AND DECLARATION IN SUPPORT OF MOTION FOR RELIEF
       FROM STAY OR, IN THE ALTERNATIVE, AN ORDER CONFIRMING THE AUTOMATIC STAY DOES NOT
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1                                                INTRODUCTION
2           Movant Victor Medeiros was the Corporate Controller of Debtor Synapse Financial

3    Technologies, Inc. (“Synapse,” or the “Debtor”) from 2021 to 2024. On October 16, 2024, Mr. Medeiros

4    received a grand jury subpoena for records and information relating to his work at Synapse. As a result,

5    Mr. Medeiros has incurred and will continue to incur substantial legal fees, which he has thus far paid

6    out of his own pocket. But those costs are covered by an insurance policy previously taken out by the

7    Debtor to cover its employees—the policy’s claims adjuster has said so in writing. Yet the insurer refuses

8    to disburse funds to Mr. Medeiros without an order from the Court authorizing it to do so. Mr. Medeiros

9    now seeks such an order, on two independently sufficient grounds: (1) the proceeds of the policy are not

10   property of the estate subject to the automatic stay; and (2) cause exists to terminate the stay with respect

11   to payments to Mr. Medeiros under the insurance policy. The Trustee does not oppose this relief, which

12   will remedy clear, immediate, and ongoing harm to Mr. Medeiros. The Court should grant the motion.

13                                         FACTUAL BACKGROUND
14                  A.      The D&O Policy

15          The Debtor holds a Directors & Officers and Corporate Securities Liability Insurance Policy, No.

16   EFI1203189-02, underwritten by Certain Underwriters at Lloyd’s of London and Associated Industries

17   Insurance Company (the “D&O Policy”). Chow Decl. Ex. 1 at 18. The policy period runs through July

18   15, 2030. Id. at 48.

19          The D&O Policy contains four Coverages. Id. at 30. Coverage A—the most relevant here—

20   provides: “The Insurer shall pay Loss of an Individual Insured arising from a Claim first made against

21   such Individual Insured during the Policy Period . . . for any Wrongful Act of such Individual Insured,

22   except when and to the extent that a Company has indemnified the Individual Insured for such Loss.” Id.

23   “Individual Insured” encompasses any current or former employee of Synapse.                   Id. at 31-33.

24   Compensable “Loss” includes “Defense Costs,” defined as “reasonable and necessary fees, costs and

25   expenses . . . resulting solely from the investigation, adjustment, defense and appeal of a Claim against

26   an Insured.” Id. at 33. And a “Claim” for a “Wrongful Act” can be, among other things, “a civil, criminal,

27   administrative or regulatory investigation of an Individual Insured [ ] once such Individual Insured is

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1    identified . . . as a person against whom a proceeding . . . may be commenced,” where the investigation
2    relates to an “act . . . by an Individual Insured in his or her capacity as such.” Id. at 31, 35. When
3    Coverage A is implicated, the D&O Policy provides for advancement, as well as reimbursement, of
4    Defense Costs. Id. at 38-39.
5             The D&O Policy also includes coverage for Synapse itself. Coverage B provides indemnification
6    coverage, obliging the Insurer to compensate the company “to the extent [Synapse] has indemnified [an]
7    Individual Insured” for a loss as defined in Coverage A. Id. at 30. Coverage C provides entity coverage,
8    insuring against “Securities Claims” made against the company.                         Id.    And Coverage D covers
9    “investigation costs” incurred in responding to a stockholder derivative demand. Id. at 30, 31. Coverage
10   C (the entity coverage) is subject to a retention requiring the company to pay the first million dollars of
11   loss under that coverage.1 Id. at 29, 38.
12            The D&O Policy includes an aggregate limit of liability of $1,000,000 for all Coverages together.
13   See id. at 18, 37. As of January 6, 2025, no claims have been made by any insured on the D&O Policy.
14   Chow Decl. ¶ 8. The Debtor also holds an excess insurance policy underwritten by Texas Insurance
15   Company (the “Excess Policy”), which provides an additional $1,000,000 of coverage “in the event of
16   the exhaustion of [the D&O Policy].” See Chow Decl. Ex. 2 at 3, 7. The D&O Policy also contains a
17   priority rule in the event a given “Loss” would exceed the liability cap: Individual Insureds under
18   Coverage A get paid first. Chow Decl. Ex. 1 at 40. That rule applies regardless of Synapse’s solvency.
19   Id. at 41.
20                     B.       Mr. Medeiros’s Claim
21            From 2021 to 2024, movant Victor Medeiros was the Corporate Controller and Senior Director
22   of Finance and Accounting for Synapse Financial Technologies, Inc. Chow Decl. ¶ 2. On October 16,
23   2024, Mr. Medeiros received a federal grand jury subpoena related to his time working at Synapse (the
24   “Subpoena”). Chow Decl. ¶ 3. The Subpoena directed Mr. Medeiros to appear before the grand jury and
25   to produce enumerated categories of documents relevant to the investigation. Id. After receiving the
26
         1
            Coverage B is also subject to a $1 million retention, but that retention does not apply in bankruptcy. Chow Decl. Ex. 1
27   at 29, 38.

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1    Subpoena, Mr. Medeiros retained Anden Chow of MoloLamken LLP to represent him in responding to
2    the Subpoena. Id. The matter remains ongoing, and Mr. Chow continues to represent Mr. Medeiros.
3    Chow Decl. ¶ 10.
4             On November 1, 2024, Mr. Medeiros submitted a notice of claim to Euclid Financial, the claims
5    representative for the D&O Policy. Chow Decl. ¶ 5. The notice sought a coverage evaluation, specifically
6    inquiring about advancement of attorney’s fees. Id. On November 18, 2024, Euclid issued a coverage
7    position, advising that “the Policy provides coverage to Victor Medeiros for the submitted matter.” Chow
8    Decl. Ex. 3 at 1. Notwithstanding that determination, Euclid informed Mr. Medeiros that the insurer
9    would not disburse any funds to which he was entitled—neither reimbursement for costs already incurred
10   nor advancement of future costs—without an order from this Court authorizing such payments. Chow
11   Decl. ¶ 7.
12            Mr. Medeiros now asks the Court for such an order.2 Mr. Medeiros has consulted the Trustee in
13   connection with this motion; the Official Committee of Unsecured Creditors was dissolved on September
14   5, 2024, Dkt. 368. The Trustee advised that she takes no position on the relief sought. Chow Decl. ¶ 9.
15                                                        ARGUMENT
16            The Court should permit Mr. Medeiros to receive the funds to which the D&O Policy entitles
17   him, for two independently sufficient reasons. First, the proceeds of the D&O Policy are not assets of
18   the estate subject to the automatic stay. In the absence of any pending or contemplated claims on the
19   Policy by the debtor, the D&O Policy does not “actually protect[ ] the estate’s assets from diminution”
20   such that “depletion of the proceeds [due to claims by individuals] would have an adverse effect on the
21   estate.” In re Downey Fin. Corp., 428 B.R. 595, 603 (Bankr. D. Del. 2010). Second, even if the stay
22   applies, cause exists to lift it. Mr. Medeiros is incurring “ ‘clear, immediate, and ongoing’ losses” as a
23   result of the stay. In re Hoku Corp., No. 13-br-40838, 2014 WL 1246884, at *4 (Bankr. D. Idaho Mar.
24
25       2
           Mr. Medeiros is a “party in interest” authorized to bring this motion by § 362(d), as his “interests would be harmed by
     continuance of the stay.” In re Veal, 450 B.R. 897, 913-14 (B.A.P. 9th Cir. 2011) (quoting In re Kronemyer, 405 B.R. 915,
26   921 (B.A.P. 9th Cir. 2009)). Individual insureds regularly bring procedurally identical motions. See, e.g., In re SVB Fin.
     Grp., 650 B.R. 790 (Bankr. S.D.N.Y. 2023); In re Hoku Corp., No. 13-br-40838, 2014 WL 1246884 (Bankr. D. Idaho Mar.
27   25, 2014).

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      MEMORANDUM OF POINTS & AUTHORITIES AND DECLARATION IN SUPPORT OF MOTION FOR RELIEF
       FROM STAY OR, IN THE ALTERNATIVE AN ORDER CONFIRMING THE AUTOMATIC STAY DOES NOT
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1    25, 2014) (quoting In re MILA, Inc., 423 B.R. 537, 545 (B.A.P. 9th Cir. 2010)). Lifting the stay,
2    meanwhile, would work no hardship on the Debtor: The Trustee does not oppose this motion, and any
3    claim on the D&O policy is purely speculative. Courts regularly grant analogous motions in analogous
4    situations.3 This Court should follow suit.
5    I.       THE D&O POLICY PROCEEDS ARE NOT SUBJECT TO THE AUTOMATIC STAY
6             Although a debtor’s insurance policy is property of the bankruptcy estate and subject to the
7    automatic stay, In re Minoco Grp. of Cos., Ltd., 799 F.2d 517, 519 (9th Cir. 1986), proceeds of that policy
8    are governed by a different rule. See MILA, 423 B.R. at 543 (Minoco does not answer whether “a D&O
9    policy’s proceeds . . . are property of the policy owner’s bankruptcy estate”). When a directors & officers
10   insurance policy with an aggregate liability cap covers both individual insureds and the debtor, policy
11   proceeds are deemed estate property only if “depletion of the proceeds [due to claims by individuals]
12   would have an adverse effect on the estate” because the policy “actually protects the estate’s other assets
13   from diminution.” Downey, 428 B.R. at 603 (emphasis added) (quoting In re Allied Digital Techs., Corp.,
14   306 B.R. 505, 512 (Bankr. D. Del. 2004)). Accordingly, courts assess the likelihood of the debtor actually
15   making a claim under its direct coverage. See id. at 604-05; In re Adelphia Commc’ns Corp., 298 B.R.
16   49, 53-54 (S.D.N.Y. 2003).
17            Here, there is no indication that claims under Coverages B or C are contemplated. The Trustee
18   has advised that she does not oppose this motion, Chow Decl. ¶ 9, strongly suggesting she does not foresee
19   relying on the D&O Policy. Moreover, claims under Coverage C are subject to a $1 million retention,
20   further decreasing the likelihood the Debtor will need to make a claim under that coverage. Thus, it
21   would require a great deal of imaginative (and counterfactual) speculation to arrive at a scenario where
22   the D&O Policy is actually protecting estate assets here.
23
          3
           See, e.g., In re MILA, Inc., 423 B.R. 537, 544 (B.A.P. 9th Cir. 2010); In re Hoku Corp., No. 13-br-40838, 2014 WL
24   1246884 (Bankr. D. Idaho Mar. 25, 2014); In re Celsius Network LLC, 652 B.R. 34 (Bankr. S.D.N.Y. 2023); SVB Fin. Grp.,
     650 B.R. 790; In re Licking River Mining, LLC, No. 14-br-10201, 2016 WL 3251890 (Bankr. E.D. Ky. June 6, 2016); In re
25   MF Glob. Holdings Ltd., 469 B.R. 177 (Bankr. S.D.N.Y. 2012); In re Downey Fin. Corp., 428 B.R. 595 (Bankr. D. Del. 2010);
     In re World Health Alternatives, Inc., 369 B.R. 805 (Bankr. D. Del. 2007); In re Allied Digital Techs., Corp., 306 B.R. 505
26   (Bankr. D. Del. 2004); In re Adelphia Commc’ns Corp., 298 B.R. 49 (S.D.N.Y. 2003); In re CyberMedica, Inc., 280 B.R. 12
     (Bankr. D. Mass. 2002); In re Youngstown Osteopathic Hosp. Ass’n, 271 B.R. 544 (Bankr. N.D. Ohio 2002); In re Louisiana
27   World Exposition, Inc., 832 F.2d 1391 (5th Cir. 1987).

28                                                             -4-
      MEMORANDUM OF POINTS & AUTHORITIES AND DECLARATION IN SUPPORT OF MOTION FOR RELIEF
       FROM STAY OR, IN THE ALTERNATIVE AN ORDER CONFIRMING THE AUTOMATIC STAY DOES NOT
                     PROHIBIT THE PAYMENT OF INSURANCE PROCEEDS TO MOVANT
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1            Adelphia Communications is instructive. There, as here, the insurance policy covered both the
2    debtors and the individual insureds. 298 B.R. at 51. And there, as here, the debtors had not incurred any
3    costs their direct coverage would reimburse. Id. at 53. In those circumstances, the court thought calling
4    the proceeds estate property was laughable: “Such [an] argument would be akin to a car owner with
5    collision coverage claiming he has the right to proceeds from his policy simply because there is a
6    prospective possibility that his car will collide with another tomorrow . . . .” Id. So too here. The Court
7    should issue an order stating the proceeds of the D&O Policy are not property of the estate subject to the
8    stay.
9    II.     CAUSE EXISTS TO LIFT THE STAY AS TO PAYMENTS TO MR. MEDEIROS
10           Even if the stay applies, cause exists to terminate it with respect to the payments to which Mr.
11   Medeiros is entitled. Section 362(d) provides that a bankruptcy court “shall grant relief from the
12   [automatic stay] . . . for cause.” The term “cause” is not defined in the statute—instead, § 362 “gives the
13   bankruptcy court wide latitude in crafting relief from the automatic stay.” In re Delaney-Morin, 304 B.R.
14   365, 369 (B.A.P. 9th Cir. 2003).
15           “In cases involving D&O policy proceeds, the bankruptcy court must balance the harm to the
16   debtor if the stay is modified with the harm to the directors and officers if they are prevented from
17   executing their rights to defense costs.” In re MILA, Inc., 423 B.R. 537, 543 (B.A.P. 9th Cir. 2010); see
18   also In re SVB Fin. Grp., 650 B.R. 790, 798-99 (Bankr. S.D.N.Y. 2023) (considering “the lack of any
19   connection with or interference with the bankruptcy case” and “the impact of the stay on the parties and
20   the balance of harms”); Downey, 428 B.R. at 609 (considering “[w]hether any great prejudice to either
21   the bankrupt estate or the debtor will result from a lifting of the stay” and “[w]hether the hardship to the
22   non-bankrupt party by maintenance of the stay considerably outweighs the hardship to the debtor”).
23   When the policy in question contains an aggregate liability cap, “courts factor whether defense costs
24   might exhaust the coverage available to pay a future covered loss under the policy . . . .” Hoku, 2014
25   WL 1246884, at *4. But “ ‘clear, immediate, and ongoing’ losses to the directors and officers in incurring
26   defense costs trump[ ] only ‘hypothetical or speculative’ claims by the [debtor].” Id. (quoting MILA, 423
27   B.R. at 545).
28                                                      -5-
      MEMORANDUM OF POINTS & AUTHORITIES AND DECLARATION IN SUPPORT OF MOTION FOR RELIEF
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1               Here, the balance of hardships favors lifting the stay. “Courts have routinely found that the need
2    for defense costs is a harm that justifies lifting the stay.” SVB Fin. Grp., 650 B.R. at 800-01 (collecting
3    cases). Mr. Medeiros is incurring “clear, immediate, and ongoing” losses as he responds to the Subpoena.
4    See Chow Decl. ¶ 10. Those efforts have required expenditure of significant time and, by extension,
5    money. Id. Mr. Medeiros has limited personal funds to pay legal fees already incurred, let alone
6    additional fees expected in the future. Id. In short, like the movant in CyberMedica, Mr. Medeiros is “in
7    need now of [his] contractual right to payment of defense costs”—he “may suffer substantial and
8    irreparable harm if prevented from exercising [his] right[] to defense payments.” In re CyberMedica,
9    Inc., 280 B.R. 12, 18 (Bankr. D. Mass. 2002) (emphasis original).
10              On the other side of the scale, there is no apparent hardship to the Debtor. The Trustee has advised
11   she does not oppose Mr. Medeiros’s motion, perhaps the surest sign that lifting the stay does not
12   meaningfully threaten the estate. That makes sense. Coverage B covers only indemnification payments,
13   Chow Decl. Ex. 1 at 30: Given Synapse’s bankruptcy, it is unlikely that an individual would seek
14   indemnification from Synapse in lieu of a direct claim under Coverage A. Coverage C, meanwhile, only
15   covers loss related to “Securities Claims, id.—but Synapse was not publicly-traded, eliminating many of
16   the “Securities Claims” contemplated by the policy.4 See Chow Decl. Ex. 1 at 34 (listing as exemplary
17   “Securities Claims” suits regarding public stock offerings and actions by a company’s security-holders).
18   The likelihood and likely amount of those claims are further reduced by Coverage C’s retention—in the
19   event of a (purely hypothetical) “Securities Claim,” the Debtor is not entitled to proceeds until it has
20   already paid the first $1 million in covered loss. See p. 2, supra; Chow Decl. Ex. 1 at 29, 38. Finally,
21   the fact the Debtor has not submitted a claim under the Policy to date suggests such claims are unlikely
22   to be made. Cf. In re First Cent. Fin. Corp., 238 B.R. 9, 17 (Bankr. E.D.N.Y. 1999) (“[T]he estate is in
23   no need of protection” because, “[d]uring the eighteen months this bankruptcy case has been pending,
24   there have been no claims filed against the Debtor which would implicate the narrow scope of the Policy’s
25   entity coverage. . . .”).
26
27   4
         For similar reasons, Coverage D regarding stockholder derivative demands is irrelevant here.
28                                                                -6-
         MEMORANDUM OF POINTS & AUTHORITIES AND DECLARATION IN SUPPORT OF MOTION FOR RELIEF
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1             But even if the Debtor might need the D&O Policy in the future, there is $2 million available to
2    pay Mr. Medeiros and those hypothetical claims by the Debtor. See p. 2, supra; Chow Decl. ¶ 8; see also
3    Hoku, 2014 WL 1246884, at *5 (lifting stay where “it is likely that the Movants’ claims to the proceeds
4    can be satisfied with ample coverage remaining if needed by the bankruptcy estate to address future
5    claims”). At present, Mr. Medeiros does not expect his Defense Costs to even approach the D&O
6    Policy’s cap, let alone the limits of the Excess Policy. Chow Decl. ¶ 10; cf. Downey, 428 B.R. at 610
7    (finding no hardship to debtor where claimed defense costs totaled less than 10% of policy limit). And
8    even if there were a danger this claim might exhaust the policy, the Policy itself gives Mr. Medeiros
9    priority to the policy proceeds.5 See p. 2, supra; Chow Decl. Ex. 1 at 40.
10            In sum, Mr. Medeiros faces “clear, immediate, and ongoing losses,” while any impact on the
11   debtor is only “hypothetical or speculative.” Hoku, 2014 WL 1246884, at *4. In such circumstances,
12   cause exists to lift the stay. See, e.g., id. at 4-5 (lifting stay over Trustee’s objection where “Movants are
13   experiencing ‘clear, immediate, and ongoing’ defense costs . . . likely covered by the Policy” while
14   “potential harm to the bankruptcy estate inherent in granting the Movants relief is negligible, if any”); In
15   re Celsius Network LLC, 652 B.R. 34, 44-45 (Bankr. S.D.N.Y. 2023) (lifting stay where “there are
16   pending actions that warrant the immediate use of insurance proceeds for defense costs of Individual
17   Insureds,” “[t]he Debtor and Committee do not oppose lifting the stay,” and “no other parties have shown
18   that there would be any harm posed to the Debtor . . . that would warrant denial of relief ”); SVB Fin.
19   Grp., 650 B.R. at 800-01 (lifting stay where “the harm in denying the Movants access [to policy proceeds]
20   is imminent and significant” but “the potential harm to the Debtor—that insurance proceeds the Debtor
21   [may] need in the future will [be] depleted—at this point is merely speculative”). The Court should lift
22   the stay and permit Mr. Medeiros to receive the insurance payments to which he is entitled.6
23        5
            Hypothetical hardship to other individual insureds is no reason to maintain the stay. Mr. Medeiros’s co-insureds have
24   no greater claim on the policy proceeds than he does. Outside of bankruptcy, Mr. Medeiros’s first-filed claim would take
     precedence over other, later-filed claims; the reverse should not be true just because the policyholder is now in bankruptcy.
25   “Bankruptcy does not grant debtors rights greater than those they would receive outside bankruptcy”—the same is true for
     third parties. See Hillis Motors, Inc. v. Hawaii Auto. Dealers Ass’n, 997 F.2d 581, 592 (9th Cir. 1993); In re Thorpe, 881
26   F.3d 536, 542 (7th Cir. 2018).
         6
          Given the urgency with which Mr. Medeiros needs the D&O Policy proceeds, the Court should exercise its power to
27   waive application of Fed. R. Bankr. P. 4001(a)(4)’s 14-day stay of an order granting relief from the stay.

28                                                              -7-
      MEMORANDUM OF POINTS & AUTHORITIES AND DECLARATION IN SUPPORT OF MOTION FOR RELIEF
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1                                                 CONCLUSION
2           The Court should issue an order authorizing payment of proceeds of the D&O Policy to Mr.
3    Medeiros, either because those proceeds are not property of the estate or because cause exists to lift the
4    automatic stay with respect to said payments. If the Court grants relief from the stay pursuant to § 362(d),
5    it should further order that the 14-day stay provided for in Fed. R. Bankr. P. 4001(a)(4) does not apply.
6
7    DATED: January 21, 2025
                                                     /s/ M. Douglas Flahaut
8
                                                     M. Douglas Flahaut
9                                                    Attorney for Movant Victor Medeiros
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28                                                      -8-
      MEMORANDUM OF POINTS & AUTHORITIES AND DECLARATION IN SUPPORT OF MOTION FOR RELIEF
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1                                    DECLARATION OF ANDEN CHOW
2           I, Anden Chow, declare and state as follows:
3           1.      I am a partner with the law firm MoloLamken LLP and represent movant Victor
4    Medeiros in connection with responding to the subpoena discussed below. I offer this declaration in
5    support of Mr. Medeiros’s Motion for Relief From Stay or, in the Alternative for an Order Confirming
6    the Automatic Stay Does Not Prohibit the Payment of Insurance Proceeds to Movant. I am admitted to
7    practice law in the State of New York. I have personal knowledge of the facts set forth herein and if
8    called as a witness, I could and would testify competently thereto.
9           2.      Based on my conversations with Mr. Medeiros and my review of other records, I am
10   informed and believe that Mr. Medeiros was the Corporate Controller and Senior Director of Finance
11   and Accounting for Synapse Financial Technologies, Inc. (“Synapse”).
12          3.      Mr. Medeiros received a federal grand jury subpoena, dated October 16, 2024, related to
13   his time working at Synapse (the “Subpoena”). The Subpoena directed Mr. Medeiros to appear before
14   the grand jury and to produce enumerated categories of documents relevant to the investigation. Mr.
15   Medeiros retained me to represent him in connection with responding to the Subpoena.
16          4.      On October 29, 2024, I learned from Synapse’s insurance broker, Alliant Insurance
17   Services, Inc. (“Alliant”), that Synapse holds two directors & officers liability insurance policies. A
18   true and accurate copy of Synapse’s Directors & Officers and Corporate Securities Liability Policy
19   underwritten by Certain Underwriters at Lloyd’s of London and Associated Industries Insurance
20   Company, Policy No. EFI1203189-02 (the “D&O Policy”), as provided to me by Alliant, is attached as
21   Exhibit 1 to this Declaration. A true and accurate copy of Synapse’s Excess Liability Insurance Policy
22   underwritten by Texas Insurance Company, Policy No. BFLXPFTCA010300_020145_03 (the “Excess
23   Policy”), as provided to me by Alliant, is attached as Exhibit 2 to this Declaration.
24          5.      On November 1, 2024, I submitted a notice of claim on behalf of Mr. Medeiros to
25   Euclid Financial, the claims representative for the D&O Policy. The notice of claim attached the
26   Subpoena and requested a coverage evaluation under the D&O Policy, including with respect to
27   advancement of attorney’s fees.
28                                                      -1-
      MEMORANDUM OF POINTS & AUTHORITIES AND DECLARATION IN SUPPORT OF MOTION FOR RELIEF
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                        EXHIBIT 1
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                                   Certificate of Insurance

1. Signature Required. This Certificate shall not be valid unless signed by the Correspondent on the
   attached Declaration Page.

2. Correspondent Not Insurer. The Correspondent is not an Insurer hereunder and neither is nor shall be
   liable for any loss or claim whatsoever. The Insurers hereunder are those Insurers set forth herein.

3. Cancellation. If this Certificate provides for cancellation and this Certificate is cancelled after the
   inception date, earned premium must be paid for the time the insurance has been in force.

4. The above-named are authorized and directed to accept service of process on behalf of Insurers in any
   such suit and/or upon request of the Assured to give a written undertaking to the Assured that they
   will enter a general appearance upon Insurers' behalf in the event such a suit shall be instituted.

5. Further, pursuant to any statute of any state, territory or district of the United States which makes
   provision therefor, Insurers hereby designate the Superintendent, Commissioner or Director of
   Insurance or other officer specified for that purpose in the statute, or his successor or successors in
   office, as their true and lawful attorney upon whom may be served any lawful process in any action,
   suit or proceeding instituted by or on behalf of the Assured or any beneficiary hereunder arising out of
   this contract of insurance, and hereby designate the above-mentioned as the person to whom the said
   officer is authorized to mail such process or a true copy thereof.

6. Assignment. This Certificate shall not be assigned either in whole or in part without the written
   consent of the Correspondent endorsed hereon.

7. Attached Conditions Incorporated. This Certificate is made and accepted subject to all the provisions,
   conditions and warranties set forth herein, attached or endorsed, all of which are to be considered as
   incorporated herein.

8. Short Rate Cancellation. If the attached provisions provide for cancellation, the table below will be
   used to calculate the short rate proportion of the premium when applicable under the terms of
   cancellation.

All inquiries regarding this Certificate should be addressed to the following Correspondent:
Euclid Financial Institution Underwriters, LLC
234 Spring Lake Drive
Itasca, IL 60143
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Short Rate Cancellation Table For Term of One Year.


 Days                 Per Cent     Days                 Per Cent     Days                  Per Cent     Days                  Per Cent
 Insurance in        of one year   Insurance in        of one year   Insurance in         of one year   Insurance in         of one year
 Force                Premium      Force                Premium      Force                 Premium      Force                 Premium



     1 .................. 5%        66 - 69 ................. 29%    154 - 156 ................. 53%    256 - 260 ................. 77%
     2 .................. 6         70 - 73 ................. 30     157 - 160 ................. 54     261 - 264 ................. 78
   3 - 4 ................... 7      74 - 76 ................. 31     161 - 164 ................. 55     265 - 269 ................. 79
   5 - 6 ................... 8      77 - 80 ................. 32     165 - 167 ................. 56     270 - 273 ( 9 mos ) ..... 80
   7 - 8 ................... 9      81 - 83 ................. 33     168 - 171 ................. 57     274 - 278 ................. 81
   9 - 10 .................. 10     84 - 87 ................. 34     172 - 175 ................. 58     279 - 282 ................. 82
  11 - 12 .................. 11     88 - 91 ( 3 mos ) ..... 35       176 - 178 ................. 59     283 - 287 ................. 83
  13 - 14 .................. 12     92 - 94 ................. 36     179 - 182 ( 6 mos ) .... 60        288 - 291 ................. 84
  15 - 16 .................. 13     95 - 98 ................. 37     183 - 187 ................. 61     292 - 296 ................. 85
  17 - 18 .................. 14     99 - 102 ................. 38    188 - 191 ................. 62     297 - 301 ................. 86
  19 - 20 .................. 15    103 - 105 ................. 39    192 - 196 ................. 63     302 - 305 ( 10 mos ) .... 87
  21 - 22 .................. 16    106 - 109 ................. 40    197 - 200 ................. 64     306 - 310 ................. 88
  23 - 25 .................. 17    110 - 113 ................. 41    201 - 205 ................. 65     311 - 314 ................. 89
  26 - 29 .................. 18    114 - 116 ................. 42    206 - 209 ................. 66     315 - 319 ................. 90
  30 - 32 ( 1 mos ) ...... 19      117 - 120 ................. 43    210 - 214 ( 7 mos ) .... 67        320 - 323 ................. 91
  33 - 36 .................. 20    121 - 124 ( 4 mos ) ..... 44      215 - 218 ................. 68     324 - 328 ................. 92
  37 - 40 .................. 21    125 - 127 ................. 45    219 - 223 ................. 69     329 - 332 ................. 93
  41 - 43 .................. 22    128 - 131 ................. 46    224 - 228 ................. 70     333 - 337 ( 11 mos ) .... 94
  44 - 47 .................. 23    132 - 135 ................. 47    229 - 232 ................. 71     338 - 342 ................. 95
  48 - 51 .................. 24    136 - 138 ................. 48    233 - 237 ................. 72     343 - 346 ................. 96
  52 - 54 .................. 25    139 - 142 ................. 49    238 - 241 ................. 73     347 - 351 ................. 97
  55 - 58 .................. 26    143 - 146 ................. 50    242 - 246 ( 8 mos ) .... 74        352 - 355 ................. 98
  59 - 62 ( 2 mos ) ...... 27      147 - 149 ................. 51    247 - 250 ................. 75     356 - 360 ................. 99
  63 - 65 .................. 28    150 - 153 ( 5 mos ) ..... 52      251 - 255 ................. 76     361 - 365 ( 12 mos ) .... 100

Rules applicable to insurance with terms less than or more than one year:
A. If insurance has been in force for one year or less, apply the short rate table for annual insurance to the
   full annual premium determined as for insurance written for a term of one year.
B. If insurance has been in force for more than one year:
    1. Determine full annual premium as for insurance written for a term of one year.
    2. Deduct such premium from the full insurance premium, and on the remainder calculate the pro rata
       earned premium on the basis of the ratio of the length of time beyond one year the insurance has
       been in force to the length of time beyond one year for which the policy was originally written.
    3. Add premium produced in accordance with items (1) and (2) to obtain earned premium during full
       period insurance has been in force.
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This Declaration Page is attached to and forms part of Certificate provisions



Previous No. EFI1203189-01      Authority Ref. No. B087523E02R5002     Certificate No. EFI1203189-02

1.      Name and address of the Assured:
        Synapse Financial Technologies, Inc.
        101 2nd Street, Suite 525
        San Francisco, CA 94105



2.      Effective from October 15, 2023 to July 15, 2024
        both days at 12:01 a.m. standard time.

3.      Insurance is effective with:

        Underwriters at Lloyd's of London                              55%
        RenaissanceRe Syndicate 1458
        One Lime Street, London,
        EC3M 7HA, UK

        Associated Industries Insurance Company, Inc.                  45%
        800 Superior Ave. E., 21st Floor
        Cleveland, OH 44114



4.      Amount                  Coverage                       Rate                   Premium

        As per Items 3 and 6 of the attached Euclid Financial Declaration page



5.       Forms attached hereto and special conditions:
     1. Certificate of Insurance
     2. LMA5218 (12/01/2015) U.S. Terrorism Risk Insurance Act of 2002
     3. LMA9104 (12/01/2015) Policyholder Disclosure Notice of Terrorism Ins.
     4. NMA1998 (24/04/1986) Service of Suit Clause (U.S.A.)
     5. LMA3100 (15/09/2010) Sanction Limitation and Exclusion Clause
     6. LMA5096 (07/03/2008) Several Liability Clause
     7. LMA5062 (04/09/2006) Fraudulent Claim Clause
     8. NMA1256 (17/03/1960) Nuclear Incident Exclusion Clause-Liability-Direct (Broad) (U.S.A.)
     9. NMA1477 (13/02/1964) Radioactive Contamination Exclusion Clause –Liability –Direct- USA
     10. LMA9029 (01/09/2013) California Surplus Lines Notice 1
     11. LMA9030 (01/09/2013) California Surplus Lines Notice 2
     12. EF GT 001 0116 General Terms and Conditions
     13. EF DO 020 0116 Directors & Officers and Corporate Securities Liability Coverage Section
     14. CD 010 1015 Professional Services E&O Exclusion with Securities Carve Back
     15. CM 091 1119 Money Laundering Exclusion
     16. CM 096 0620 Theft or Loss of Crypto Currency Exclusion
     17. CD 057 0221 Cyber and Data Exclusion with Securities Claim Carve-back
     18. CD 059 0721 Securities Exclusion
     19. CG 136 1223 Run-Off Endorsement
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6.     Service of Suit may be made upon:

       The party as named in form NMA1998


7.     In the event of a claim, please notify the following:

       As per Item 4 of the attached Euclid Financial Declaration page




Dated: December 14, 2023                                                 By:
                                                                               Correspondent
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                      U.S. Terrorism Risk Insurance Act of 2002 as amended New &
                                     Renewal Business Endorsement

This Endorsement is issued in accordance with the terms and conditions of the "U.S. Terrorism Risk
Insurance Act of 2002" as amended, as summarized in the disclosure notice.

In consideration of an additional premium of USD $0.00 paid, it is hereby noted and agreed with effect
from inception that the Terrorism exclusion to which this Insurance is subject, shall not apply to any
“insured loss” directly resulting from any "act of terrorism" as defined in the "U.S. Terrorism Risk
Insurance Act of 2002", as amended ("TRIA").

The coverage afforded by this Endorsement is only in respect of any “insured loss” of the type insured by
this Insurance directly resulting from an "act of terrorism" as defined in TRIA. The coverage provided by
this Endorsement shall expire at 12:00 midnight December 31, 2020, the date on which the TRIA Program
is scheduled to terminate, or the expiry date of the policy whichever occurs first, and shall not cover any
losses or events which arise after the earlier of these dates. The Terrorism exclusion, to which this
Insurance is subject, applies in full force and effect to any other losses and any act or events that are not
included in said definition of "act of terrorism".

This Endorsement only affects the Terrorism exclusion to which this Insurance is subject. All other terms,
conditions, insured coverage and exclusions of this Insurance including applicable limits and deductibles
remain unchanged and apply in full force and effect to the coverage provided by this Insurance.

Furthermore the Underwriter(s) will not be liable for any amounts for which they are not responsible
under the terms of TRIA (including subsequent action of Congress pursuant to the Act) due to the
application of any clause which results in a cap on the Underwriter’s liability for payment for terrorism
losses.




LMA5218
12 January 2015
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                                     POLICYHOLDER DISCLOSURE
                                       NOTICE OF TERRORISM
                                       INSURANCE COVERAGE


You are hereby notified that under the Terrorism Risk Insurance Act of 2002, as amended ("TRIA"), that
you now have a right to purchase insurance coverage for losses arising out of acts of terrorism, as defined
in Section 102(1) of the Act, as amended: The term “act of terrorism” means any act that is certified by
the Secretary of the Treasury, in consultation with the Secretary of Homeland Security and the Attorney
General of the United States, to be an act of terrorism; to be a violent act or an act that is dangerous to
human life, property, or infrastructure; to have resulted in damage within the United States, or outside
the United States in the case of an air carrier or vessel or the premises of a United States mission; and to
have been committed by an individual or individuals, as part of an effort to coerce the civilian population
of the United States or to influence the policy or affect the conduct of the United States Government by
coercion. Any coverage you purchase for "acts of terrorism" shall expire at 12:00 midnight December 31,
2020, the date on which the TRIA Program is scheduled to terminate, or the expiry date of the policy
whichever occurs first, and shall not cover any losses or events which arise after the earlier of these
dates.

YOU SHOULD KNOW THAT COVERAGE PROVIDED BY THIS POLICY FOR LOSSES CAUSED BY CERTIFIED ACTS
OF TERRORISM IS PARTIALLY REIMBURSED BY THE UNITED STATES UNDER A FORMULA ESTABLISHED BY
FEDERAL LAW. HOWEVER, YOUR POLICY MAY CONTAIN OTHER EXCLUSIONS WHICH MIGHT AFFECT YOUR
COVERAGE, SUCH AS AN EXCLUSION FOR NUCLEAR EVENTS. UNDER THIS FORMULA, THE UNITED STATES
PAYS 85% THROUGH 2015; 84% BEGINNING ON JANUARY 1, 2016; 83% BEGINNING ON JANUARY 1, 2017; 82%
BEGINNING ON JANUARY 1, 2018; 81% BEGINNING ON JANUARY 1, 2019 AND 80% BEGINNING ON JANUARY
1, 2020; OF COVERED TERRORISM LOSSES EXCEEDING THE STATUTORILY ESTABLISHED DEDUCTIBLE PAID BY
THE INSURER(S) PROVIDING THE COVERAGE. YOU SHOULD ALSO KNOW THAT THE TERRORISM RISK
INSURANCE ACT, AS AMENDED, CONTAINS A USD100 BILLION CAP THAT LIMITS U.S. GOVERNMENT
REIMBURSEMENT AS WELL AS INSURERS' LIABILITY FOR LOSSES RESULTING FROM CERTIFIED ACTS OF
TERRORISM WHEN THE AMOUNT OF SUCH LOSSES IN ANY ONE CALENDAR YEAR EXCEEDS USD100 BILLION. IF
THE AGGREGATE INSURED LOSSES FOR ALL INSURERS EXCEED USD100 BILLION, YOUR COVERAGE MAY BE
REDUCED.

THE PREMIUM CHARGED FOR THIS COVERAGE IS PROVIDED BELOW AND DOES NOT INCLUDE ANY CHARGES
FOR THE PORTION OF LOSS COVERED BY THE FEDERAL GOVERNMENT UNDER THE ACT.
           I hereby elect to purchase coverage for acts of terrorism for a prospective premium of
           USD $0.00
           I hereby elect to have coverage for acts of terrorism excluded from my policy. I
           understand that I will have no coverage for losses arising from acts of terrorism.


          _________________________                           _________________________
        Policyholder/Applicant’s Signature           1458 Syndicate on behalf of certain underwriters
                                                                        at Lloyd’s

           _________________________                           _________________________
                   Print Name                                        Policy Number

           _________________________
                      Date

LMA9104
12 January 2015
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                                 SERVICE OF SUIT CLAUSE (U.S.A.)


It is agreed that in the event of the failure of the Underwriters hereon to pay any amount claimed to be
due hereunder, the Underwriters hereon, at the request of the Insured (or Reinsured), will submit to the
jurisdiction of a Court of competent jurisdiction within the United States. Nothing in this Clause constitutes
or should be understood to constitute a waiver of Underwriters' rights to commence an action in any Court
of competent jurisdiction in the United States, to remove an action to a United States District Court, or to
seek a transfer of a case to another Court as permitted by the laws of the United States or of any State in
the United States.

It is further agreed that service of process in such suit may be made upon

Wilson, Elser, Moskowitz, Edelman & Dicker
555 S. Flower Street
Suite 2900
Los Angeles, CA 90071

and that in any suit instituted against any one of them upon this contract, Underwriters will abide by the
final decision of such Court or of any Appellate Court in the event of an appeal.

The above-named are authorized and directed to accept service of process on behalf of Underwriters in any
such suit and/or upon the request of the Insured (or Reinsured) to give a written undertaking to the Insured
(or Reinsured) that they will enter a general appearance upon Underwriters' behalf in the event such a suit
shall be instituted.

Further, pursuant to any statute of any state, territory or district of the United States which makes provision
therefor, Underwriters hereon hereby designate the Superintendent, Commissioner or Director of Insurance
or other officer specified for that purpose in the statute, or his successor or successors in office, as their
true and lawful attorney upon whom may be served any lawful process in any action, suit or proceeding
instituted by or on behalf of the Insured (or Reinsured) or any beneficiary hereunder arising out of this
contract of insurance (or reinsurance), and hereby designate the above-named as the person to whom the
said officer is authorized to mail such process or a true copy thereof.




NMA1998


24/04/1986
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                                Sanction Limitation and Exclusion Clause

No (re)insurer shall be deemed to provide cover and no (re)insurer shall be liable to pay any claim or
provide any benefit hereunder to the extent that the provision of such cover, payment of such claim or
provision of such benefit would expose that (re)insurer to any sanction, prohibition or restriction under
United Nations resolutions or the trade or economic sanctions, laws or regulations of the European Union,
United Kingdom or United States of America.


LMA3100
15 September 2010
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                                        SEVERAL LIABILITY CLAUSE



PLEASE NOTE – This notice contains important information. PLEASE READ CAREFULLY



The liability of an insurer under this contract is several and not joint with other insurers party to this
contract. An insurer is liable only for the proportion of liability it has underwritten. An insurer is not
jointly liable for the proportion of liability underwritten by any other insurer. Nor is an insurer otherwise
responsible for any liability of any other insurer that may underwrite this contract.

The proportion of liability under this contract underwritten by an insurer (or, in the case of a Lloyd’s
syndicate, the total of the proportions underwritten by all the members of the syndicate taken together)
is shown in this contract.

In the case of a Lloyd’s syndicate, each member of the syndicate (rather than the syndicate itself) is an
insurer. Each member has underwritten a proportion of the total shown for the syndicate (that total itself
being the total of the proportions underwritten by all the members of the syndicate taken together). The
liability of each member of the syndicate is several and not joint with other members. A member is liable
only for that member’s proportion. A member is not jointly liable for any other member’s proportion.
Nor is any member otherwise responsible for any liability of any other insurer that may underwrite this
contract. The business address of each member is Lloyd’s, One Lime Street, London EC3M 7HA. The
identity of each member of a Lloyd’s syndicate and their respective proportion may be obtained by
writing to Market Services, Lloyd’s, at the above address.

Although reference is made at various points in this clause to “this contract” in the singular, where the
circumstances so require this should be read as a reference to contracts in the plural.


LMA5096 (Combined Certificate)

7 March 2008
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                                       Fraudulent Claim Clause



If the (re)insured shall make any claim knowing the same to be false or fraudulent, as regards amount or
otherwise, this contract shall become void and all claim hereunder shall be forfeited.


LMA5062

4 September 2006
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           NUCLEAR INCIDENT EXCLUSION CLAUSE-LIABILITY-DIRECT (BROAD) (U.S.A.)

For attachment to insurances of the following classifications in the U.S.A., its Territories and
Possessions, Puerto Rico and the Canal Zone:

           Owners, Landlords and Tenants Liability, Contractual Liability, Elevator Liability, Owners
           or Contractors (including railroad) Protective Liability, Manufacturers and Contractors
           Liability, Product Liability, Professional and Malpractice Liability, Storekeepers Liability,
           Garage Liability, Automobile Liability (including Massachusetts Motor Vehicle or Garage
           Liability),

not being insurances of the classifications to which the Nuclear Incident Exclusion Clause-Liability-
Direct (Limited) applies.

This Policy* does not apply:

    I.         Under any Liability Coverage, to injury, sickness, disease, death or destruction

               (a) with respect to which an insured under the Policy is also an insured under a nuclear
                   energy liability policy issued by Nuclear Energy Liability Insurance Association,
                   Mutual Atomic Energy Liability Underwriters or Nuclear Insurance Association of
                   Canada, or would be an insured under any such policy but for its termination upon
                   exhaustion of its limit of liability; or

               (b) resulting from the hazardous properties of nuclear material and with respect to
                   which (1) any person or organization is required to maintain financial protection
                   pursuant to the Atomic Energy Act of 1954, or any law amendatory thereof, or (2)
                   the insured is, or had this Policy not been issued would be, entitled to indemnity
                   from the United States of America, or any agency thereof, under any agreement
                   entered into by the United States of America, or any agency thereof, with any
                   person or organization.

    II.        Under any Medical Payments Coverage, or under any Supplementary Payments Provision
               relating to immediate medical or surgical relief, to expenses incurred with respect to
               bodily injury, sickness, disease or death resulting from the hazardous properties of
               nuclear material and arising out of the operation of a nuclear facility by any person or
               organization.

    III.       Under any Liability Coverage, to injury, sickness, disease, death or destruction resulting
               from the hazardous properties of nuclear material, if

               (a) the nuclear material (1) is at any nuclear facility owned by, or operated by or on
                   behalf of, an insured or (2) has been discharged or dispersed therefrom;

               (b) the nuclear material is contained in spent fuel or waste at any time possessed,
                   handled, used, processed, stored, transported or disposed of by or on behalf of an
                   insured; or

               (c) the injury, sickness, disease, death or destruction arises out of the furnishing by an
                   insured of services, materials, parts or equipment in connection with the planning,
                   construction, maintenance, operation or use of any nuclear facility, but if such
                   facility is located within the United States of America, its territories or possessions
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              or Canada, this exclusion (c) applies only to injury to or destruction of property at
              such nuclear facility.

        IV.   As used in this endorsement:

              "hazardous properties" include radioactive, toxic or explosive properties; "nuclear
              material" means source material, special nuclear material or by-product material;
              "source material", "special nuclear material", and "by-product material" have the
              meanings given them in the Atomic Energy Act 1954 or in any law amendatory
              thereof; "spent fuel" means any fuel element or fuel component, solid or liquid,
              which has been used or exposed to radiation in a nuclear reactor; "waste" means
              any waste material (1) containing by-product material and (2) resulting from the
              operation by any person or organization of any nuclear facility included within the
              definition of nuclear facility under paragraph (a) or (b) thereof; "nuclear facility"
              means

              (a)   any nuclear reactor,

              (b) any equipment or device designed or used for (1) separating the isotopes of
              uranium or plutonium, (2) processing or utilizing spent fuel, or (3) handling,
              processing or packaging waste,

              (c)   any equipment or device used for the processing, fabricating or
                    alloying of special nuclear material if at any time the total amount
                    of such material in the custody of the insured at the premises where such
                    equipment or device is located consists of or contains more than 25 grams of
                    plutonium or uranium 233 or any combination thereof, or more than 250 grams
                    of uranium 235,

              (d)   any structure, basin, excavation, premises or place prepared or    used     for
                    the storage or disposal of waste,

               and includes the site on which any of the foregoing is located, all operations
               conducted on such site and all premises used for such operations; "nuclear reactor"
               means any apparatus designed or used to sustain nuclear fission in a self-supporting
               chain reaction or to contain a critical mass of fissionable material. With respect
               to injury to or destruction of property, the word "injury" or "destruction" includes
               all forms of radioactive contamination of property.

        It is understood and agreed that, except as specifically provided in the foregoing to the
        contrary, this clause is subject to the terms, exclusions, conditions and limitations of the
        Policy to which it is attached.

        * NOTE: As respects policies which afford liability coverages and other forms of coverage
        in addition, the words underlined should be amended to designate the liability coverage
        to which this clause is to apply.


        NMA1256

        17/03/1960
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              RADIOACTIVE CONTAMINATION EXCLUSION CLAUSE-LIABILITY-DIRECT (U.S.A.)


For attachment (in addition to the appropriate Nuclear Incident Exclusion Clause-Liability-Direct) to
liability insurances affording worldwide coverage.

In relation to liability arising outside the U.S.A., its Territories or Possessions, Puerto Rico or the Canal
Zone, this Policy does not cover any liability of whatsoever nature directly or indirectly caused by or
contributed to by or arising from ionizing radiations or contamination by radioactivity from any
nuclear fuel or from any nuclear waste from the combustion of nuclear fuel.


NMA1477

13/02/1964
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            CALIFORNIA SURPLUS LINES NOTICE 1

 NOTICE:

 1. THE INSURANCE POLICY THAT YOU HAVE PURCHASED /
 ARE APPLYING TO PURCHASE IS BEING ISSUED BY AN
 INSURER THAT IS NOT LICENSED BY THE STATE OF
 CALIFORNIA.      THESE   COMPANIES     ARE CALLED
 "NONADMITTED" OR "SURPLUS LINE" INSURERS.
 2. THE INSURER IS NOT SUBJECT TO THE FINANCIAL
 SOLVENCY REGULATION AND ENFORCEMENT THAT APPLY
 TO CALIFORNIA LICENSED INSURERS.
 3. THE INSURER DOES NOT PARTICIPATE IN ANY OF THE
 INSURANCE GUARANTEE FUNDS CREATED BY CALIFORNIA
 LAW. THEREFORE, THESE FUNDS WILL NOT PAY YOUR
 CLAIMS OR PROTECT YOUR ASSETS IF THE INSURER
 BECOMES INSOLVENT AND IS UNABLE TO MAKE PAYMENTS
 AS PROMISED.
 4. THE INSURER SHOULD BE LICENSED EITHER AS A
 FOREIGN INSURER IN ANOTHER STATE IN THE UNITED
 STATES OR AS A NON-UNITED STATES (ALIEN) INSURER. YOU
 SHOULD ASK QUESTIONS OF YOUR INSURANCE AGENT,
 BROKER, OR “SURPLUS LINE” BROKER OR CONTACT THE
 CALIFORNIA DEPARTMENT OF INSURANCE AT THE
 FOLLOWING TOLL-FREE TELEPHONE NUMBER ___________.
 ASK WHETHER OR NOT THE INSURER IS LICENSED AS A
 FOREIGN OR NON-UNITED STATES (ALIEN) INSURER AND FOR
 ADDITIONAL INFORMATION ABOUT THE INSURER. YOU MAY
 ALSO CONTACT THE NAIC’S INTERNET WEBSITE AT
 WWW.NAIC.ORG .
 5. FOREIGN INSURERS SHOULD BE LICENSED BY A STATE
 IN THE UNITED STATES AND YOU MAY CONTACT THAT
 STATE’S DEPARTMENT OF INSURANCE TO OBTAIN MORE
 INFORMATION ABOUT THAT INSURER.
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 6. FOR NON-UNITED STATES (ALIEN) INSURERS, THE
 INSURER SHOULD BE LICENSED BY A COUNTRY OUTSIDE OF
 THE UNITED STATES AND SHOULD BE ON THE NAIC’S
 INTERNATIONAL INSURERS DEPARTMENT (IID) LISTING OF
 APPROVED NONADMITTED NON-UNITED STATES INSURERS.
 ASK YOUR AGENT, BROKER, OR “SURPLUS LINE” BROKER TO
 OBTAIN MORE INFORMATION ABOUT THAT INSURER.
 7. CALIFORNIA MAINTAINS A LIST OF APPROVED SURPLUS
 LINE INSURERS. ASK YOUR AGENT OR BROKER IF THE
 INSURER IS ON THAT LIST, OR VIEW THAT LIST AT THE
 INTERNET WEB SITE OF THE CALIFORNIA DEPARTMENT OF
 INSURANCE: WWW.INSURANCE.CA.GOV .
 8. IF YOU, AS THE APPLICANT, REQUIRED THAT THE
 INSURANCE POLICY YOU HAVE PURCHASED BE BOUND
 IMMEDIATELY, EITHER BECAUSE EXISTING COVERAGE WAS
 GOING TO LAPSE WITHIN TWO BUSINESS DAYS OR BECAUSE
 YOU WERE REQUIRED TO HAVE COVERAGE WITHIN TWO
 BUSINESS DAYS, AND YOU DID NOT RECEIVE THIS
 DISCLOSURE FORM AND A REQUEST FOR YOUR SIGNATURE
 UNTIL AFTER COVERAGE BECAME EFFECTIVE, YOU HAVE
 THE RIGHT TO CANCEL THIS POLICY WITHIN FIVE DAYS OF
 RECEIVING THIS DISCLOSURE. IF YOU CANCEL COVERAGE,
 THE PREMIUM WILL BE PRORATED AND ANY BROKER’S FEE
 CHARGED FOR THIS INSURANCE WILL BE RETURNED TO YOU.




 LMA9029
 01 September 2013
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                           CALIFORNIA SURPLUS LINES NOTICE 2

 This insurance is issued pursuant to the California Insurance Code, Sections 1760 through 1780, and
 is placed in an insurer or insurers not holding a Certificate of Authority from or regulated by the
 California Insurance Commissioner.




 LMA9030
 01 September 2013
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General Declarations

NOTICES: THIS POLICY PROVIDES CLAIMS-MADE COVERAGE. SUCH COVERAGE IS LIMITED TO
LIABILITY FOR (I) CLAIMS FIRST MADE AGAINST INSUREDS DURING THE POLICY PERIOD OR, IF
APPLICABLE, THE EXTENDED REPORTING PERIOD, AND (II) OTHER MATTERS, CIRCUMSTANCES OR
WRONGFUL ACTS FIRST OCCURRING DURING THE POLICY PERIOD AND COVERED UNDER THIS
POLICY. COVERAGE UNDER THIS POLICY IS CONDITIONED UPON NOTICE BEING TIMELY PROVIDED
TO THE INSURER AS REQUIRED UNDER SECTION VI. OF THE GENERAL TERMS AND CONDITIONS.
ANY COVERED DEFENSE COSTS, AND INVESTIGATION COSTS SHALL REDUCE THE LIMITS OF
LIABILITY AVAILABLE TO PAY JUDGMENTS OR SETTLEMENTS, AND MAY BE APPLIED AGAINST THE
RETENTION AMOUNT. EXCEPT AS EXPRESSLY PROVIDED FOR IN THE EMPLOYMENT PRACTICES
LIABILITY COVERAGE SECTIONAND THE FIDUCIARY LIABILITY COVERAGE SECTION, THE INSURER
DOES NOT ASSUME ANY DUTY TO DEFEND. PLEASE READ THIS POLICY CAREFULLY AND REVIEW ITS
COVERAGE WITH YOUR INSURANCE AGENT OR BROKER.

POLICY NUMBER:               EFI1203189-02
UMR:                         B087523E02R5002

1. NAMED INSURED:            Synapse Financial Technologies, Inc.
Named Insured Address:       101 2nd Street, Suite 525
                             San Francisco, CA 94105

2. POLICY PERIOD:            Inception:   October 15, 2023
                             Expiration:  July 15, 2024
                             The Policy Period incepts and expires as of 12:01 A.M. at the Named Insured
                             Address.

3. COVERAGES AND LIMITS OF LIABILITY APPLICABLE TO THIS POLICY:
                                                                                     Limit of Liability
      (a) Directors & Officers and Corporate Securities Liability Coverage Section   $1,000,000
      (b) Private Company Management Liability Coverage Section
      (c) Investment Adviser Professional Liability Coverage Section
      (d) Investment Fund Coverage Section
      (e) Insurance Company Professional Liability Coverage Section
      (f) Bankers Professional Liability Coverage Section
      (g) Employment Practices Liability Coverage Section
      (h) Fiduciary Liability Coverage Section

   POLICY AGGREGATE LIMIT OF LIABILITY
   (i) For all Coverage Sections combined:                                           $1,000,000

4. INSURER:

   (a) Insurers:     Certain Underwriters at Lloyd’s of London 55%
                     Associated Industries Insurance Company 45%

   (b) Notice of Claim or circumstances:
       By E-Mail:     claimsmailbox@euclidfinancial.com
       By Mail:       Euclid Financial Institution Underwriters, LLC
                      234 Spring Lake Drive
                      Itasca IL 60143

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   (c) All other notices:
                       Euclid Financial Institution Underwriters, LLC
                       234 Spring Lake Drive
                       Itasca IL 60143

5. EXTENDED REPORTING PERIOD:

   Period:            N/A
   Premium:           N/A

6. PREMIUM:           $325,000

IN WITNESS WHEREOF, the Insurer has caused this policy to be signed below by its President, Secretary or
duly authorized representative.




___________________________

AUTHORIZED REPRESENTATIVE




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General Terms and Conditions

In consideration of the premium charged, and in reliance upon the statements made by the
Insureds in the Application, which forms a part of this policy, the Insurer agrees as follows:

I. TERMS AND CONDITIONS

In addition to the terms and conditions set forth in these General Terms and Conditions, the terms
and conditions of each Coverage Section shall apply to, and only to that particular Coverage
Section and in no way shall be construed to apply to any other Coverage Section. If any
provision of the General Terms and Conditions is inconsistent or in conflict with terms and
conditions of any Coverage Section, the terms and conditions of such Coverage Section shall
control for purposes of that Coverage Section.

II. DEFINITIONS

The following terms whenever set forth in boldface type in this policy, whether in singular or in
plural, shall have the meanings indicated. Any other terms set forth in boldface type in the General
Terms and Conditions will have the meanings indicated in the applicable Coverage Section.

A. Application means

        1. the signed application for this policy, if any; all applications for any policy of which this
           policy is a renewal or replacement; and any attachments, information, warranty, or
           other materials submitted therewith or incorporated therein; and
        2. any filings made by the Company to the Securities Exchange Commission or any
           similar state, local, or foreign governmental entity, within the 12 months preceding the
           inception date of this policy.

   The materials defined in 1. and 2. above shall be deemed attached to and part of this policy.

B. Company means

    1. the Named Insured;
    2. any Subsidiary; and
    3. the Named Insured or any Subsidiary as a debtor-in-possession under United States of
       America bankruptcy law or similar legal status under foreign law.

   Company does not include and coverage shall not apply under any Coverage Section to,
   any Subsidiary, or any Executive or Employee of any Subsidiary, for any Wrongful Act
   committed, attempted, or allegedly committed or attempted, prior to or subsequent to such
   entity having met the definition of Subsidiary as defined in that Coverage Section.

C. Coverage Section means collectively or individually the Directors and Officers
   Liability Coverage Section, the Investment Adviser Management Liability




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     Coverage Section, the Investment Adviser Professional Liability Coverage Section, the
     Investment Fund Coverage Section, the Insurance Company Professional Liability
     Coverage Section, the Bankers Professional Liability Coverage Section, the Employment
     Practices Liability Coverage Section, or the Fiduciary Liability Coverage Section, but only
     with respect to those indicated as included as part of this policy by all three of the following:

     1. indicated by X in the General Declarations. (   indicates the Coverage Section is not
        included)
     2. for which a Coverage Section Limit of Liability is indicated in Item 4 of the General
        Declarations; and
     3. for which such Coverage Section Declarations and coverage form are attached to and
        form part of this policy.

D. Domestic Partner means a person legally recognized as a domestic or civil union partner
   under the provisions of any applicable federal, state or local statutory or common law under
   the provisions of any formal program established by a Company.

E. Financial Insolvency means:

     1. the appointment by any government official, agency, commission, court or other
        governmental authority of a receiver, conservator, liquidator, trustee, rehabilitator or
        similar official to take control of, supervise, manage or liquidate a Company;
     2. the filing of a petition under the bankruptcy laws of the United States of America by a
        Company; or
     3. as to both 1. or 2. of this Definition, any equivalent events outside the United States of
        America.

F. Indemnifiable Loss means Loss for which a Company, Fund Organization or Outside
   Entity is permitted or required to indemnify or advance to the Individual Insureds.

G. Insurer means the insurance company set forth in Item 4 of the General Declarations.

H. Management Control means

     1. owning interests representing more than 50% of the voting, appointment or designation
        power for the selection of a majority of: the board of directors of a corporation, the
        management committee members of a joint venture or partnership, or the members of the
        management board of a limited liability company; or
     2. having the right, pursuant to written contract or the by-laws, charter, operating agreement
        or similar documents of a Company, to elect, appoint or designate a majority of: the board
        of directors of a corporation, the management committee of a joint venture or partnership,
        or the management board of a limited liability company.

I.   Named Insured means the entity set forth in Item 1. of the General Declarations.

J. Non-indemnifiable Loss means Loss which an Individual Insured becomes legally
   obligated to pay on account of any Claim, for which a Company, Fund Organization or
   Outside Entity fails to indemnify such Individual Insured and:




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     1. such entity’s failure to indemnify is a result of such entity’s insolvency; or
     2. such entity is not permitted to indemnify such Individual Insured pursuant to statutory or
        common law.

K. Policy Period means the period of time from the inception date set forth in Item 2 of the
   General Declarations to the earlier of the expiration date set forth in Item 2 of the General
   Declarations or the effective date of cancellation of this policy. In the event of cancellation of
   this policy, the effective date of cancellation shall replace the expiration date in Item 2 of the
   General Declarations.

L. Related Wrongful Acts means Wrongful Acts which are the same, repeated or continuous
   Wrongful Acts, or Wrongful Acts which arise from a common causal connection or cause
   the same or related damages, or have a common nexus or nucleus of facts. Claims can allege
   Related Wrongful Acts regardless of whether such Claims involve the same or different
   claimants, Insureds or legal causes of action.

III. SPOUSES, ESTATES

Subject otherwise to the terms, conditions and limitations of this policy, this policy provides
coverage for any Claim solely for Wrongful Acts committed or allegedly committed by the
Individual Insureds made against:

A.      the estates, heirs, or legal representatives of such Individual Insureds, in the event of
        their incompetency, insolvency or bankruptcy; or

B.      the lawful spouse or legally recognized Domestic Partner (whether such status is derived
        by reason of statutory law, common law or otherwise of any applicable jurisdiction in the
        world and hereinafter included in the term “spouse”) of any such Individual Insured for
        all Claims arising solely out of his or her status as spouse of an Individual Insured,
        including a Claim that seeks damages recoverable from marital community property,
        property jointly held by the Individual Insured and the spouse, or property transferred
        from the Individual Insured to the spouse.

This extension shall not afford coverage for any Claim for any actual or alleged Wrongful Act of
the spouse, but shall apply only to Claims arising out of any actual or alleged Wrongful Acts of
an Individual Insured, subject to the policy’s terms, conditions and exclusions.

IV. LIMITS OF LIABILITY

A. The Policy Aggregate Limit of Liability set forth in Item 4(i) of the General Declarations shall
   be the maximum aggregate limit of the Insurer’s liability for all Loss, including Defense
   Costs, under all Coverage Sections combined. The purchase of the Extended Reporting
   Period shall not in any way increase or reinstate any Limits of Liability.

B. The Coverage Section Limit of Liability set forth in Items 4(a), 4(b), 4(c), 4(d), 4(e), 4(f), 4(g),
   and 4(h) of the General Declarations shall be the maximum aggregate limit of the Insurer’s
   liability under each applicable Coverage Section for all Loss, including Defense Costs,
   under that respective Coverage Section. Each such Coverage Section Limit of Liability shall
   be part of and not in addition to the Policy Aggregate Limit of Liability set forth in Item 4(i) of
   the General Declarations. The Policy Aggregate Limit of Liability set forth in Item 4(i) of the
   General Declarations


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   shall be reduced and may be exhausted by payments of Loss under any one or more of the
   applicable Coverage Sections.

C. Any sub-limits of liability set forth in any applicable Coverage Section Declarations shall be
   part of and not in addition to the Policy Aggregate Limit of Liability set forth in Item 4(i) of the
   General Declarations and the applicable Coverage Section Limit of Liability set forth in that
   respective Coverage Section Declarations.

D. The Insurer’s obligations for all Claims shall cease upon exhaustion of the Policy Aggregate
   Limit of Liability and, to the extent any individual applicable Coverage Section Limit of Liability
   is exhausted, the Insurer’s obligations for all Claims under that particular Coverage Section
   shall cease.

E. Defense Costs incurred by the Insurer or by the Insureds shall be part of and not in addition
   to the applicable limits of liability. Payment of Defense Costs by the Insurer shall reduce and
   may exhaust all applicable limits of liability.

F. All Claims arising out of the same Wrongful Act or Related Wrongful Acts shall be deemed
   a single Claim and shall be deemed to be first made against the Insureds on the date the
   earliest of such Claims is first made against any Insureds.

V. RETENTIONS

A. The Retentions set forth in the respective Coverage Section Declarations are separate
   Retentions pertaining only to Claims under that applicable Coverage Section. The
   application of a Retention under one Coverage Section shall not reduce or eliminate the
   Retention under any other applicable Coverage Section.

B. With respect to a Claim under any applicable Coverage Section, the Insurer shall only pay
   Loss which is in excess of the amount set forth in the Coverage Section Declarations as the
   Retention applicable to each such Claim under the applicable Coverage Section. Such
   Retention shall be borne by the Insureds and shall remain uninsured.

C. If more than one Retention is applicable to any one Claim, the applicable Retentions will be
   applied separately to the Loss resulting from such Claim, and the payment of any Retention
   under one Coverage Section will not reduce or eliminate the Retention under any other.

D. Amounts incurred for Defense Costs shall be applied against the applicable Retention.

VI. REPORTING AND NOTICE

A. The Insured shall, as a condition precedent to the obligations of the Insurer under this policy,
   give notice to the Insurer by mail or electronically to the address set forth in Item 4(b) of the
   General Declarations of:

   1. any Claim made against an Insured,
   2. any matter which could involve the payment of Voluntary Compliance Loss under the
      Fiduciary Liability Coverage Section, if purchased; or
   3. any Derivative Demand under the Directors and Officers Liability Coverage Section,
      Investment Adviser Management Liability Coverage Section, or Investment Fund
      Coverage Section, if purchased,


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   as soon as practicable but no later than (i) the earlier of 60 days after the expiration date
   shown in Item 2 of the General Declarations or cancellation of the policy or (ii) prior to the end
   of the Extended Reporting Period, if applicable.

   Any subsequent Claim which is made against an Insured and reported to the Insurer
   alleging, arising out of, based upon or attributable to the facts, circumstances, or a Wrongful
   Act alleged in a prior Claim for which notice already has been given, or which alleges any
   Wrongful Act which is a Related Wrongful Act shall be deemed a Claim first made at the
   time the prior Claim was first noticed to the Insurer.

B. If during the Policy Period or the Extended Reporting Period, if applicable, the Insureds
   become aware of any circumstances and a Wrongful Act which may reasonably be expected
   to give rise to a Claim being made against the Insureds and notice is given to the Insurer by
   mail or electronically to the address set forth in Item 4 (b) of the General Declarations of such
   circumstances, along with a description of the alleged Wrongful Act, the allegations
   anticipated, the reasons for anticipating a Claim, and full particulars as to dates, persons and
   entities involved, then any Claim which subsequently is made against the Insureds and
   reported to the Insurer alleging, arising out of, based upon or attributable to such
   circumstances and a Wrongful Act which is the same as or is a Related Wrongful Act to
   that alleged or contained in such circumstances, shall be considered made at the time such
   notice of such circumstance or Wrongful Act originally was reported.

Notice pursuant to A. or B. above shall reference the policy number set forth in the General
Declarations. If mailed, the date received by the Insurer shall constitute the date that such notice
was given.

C. All notices other than those notices provided for in A. and B. above shall be sent to the Insurer
   at the address set forth in Item 4(c) of the General Declarations.

VII. CANCELLATION

This policy or any individual Coverage Section may be canceled by the Named Insured at any
time by mailing written notice to the Insurer stating which Coverage Sections are to be canceled
or that the entire policy is to be canceled and when thereafter such cancellation shall be effective.
The mailing of such notice shall be sufficient notice and the effective date of cancellation shall be
the date the Insurer received such notice or any later date specified in the notice, and such
effective date shall become the end of the Policy Period either for the entire policy or for that
respective Coverage Section, whichever is cancelled.

This policy may be canceled by or on behalf of the Insurer only in the event of non-payment of
premium by the Named Insured. In the event of non-payment of premium by the Named Insured,
the Insurer may cancel this policy by delivering to the Named Insured or by mailing to the Named
Insured, by registered, certified or other first class mail, at the Named Insured’s address as
stated in Item 1 of the General Declarations, written notice stating when, not less than 10 days
thereafter, the cancellation shall be effective. The mailing of such notice as aforesaid shall be
sufficient proof of notice. The Policy Period terminates at the date and hour specified in such
notice.

If the policy or any Coverage Section shall be canceled by the Named Insured, the Insurer shall
retain the short rate proportion of the applicable premium herein.



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If the Policy is canceled by the Insurer, the Insurer shall retain the pro rata proportion of the
applicable premium herein.

Payment or tender of any unearned premium by the Insurer shall not be a condition precedent to
the effectiveness of cancellation, but such payment shall be made as soon as practicable.

VIII. EXTENDED REPORTING PERIOD

Upon expiration or cancellation of this policy, other than for non-payment of premium, the
Insureds shall have the right, upon payment of the additional premium indicated in Item 5. of the
General Declarations, to an extension of the Notice of Claim provision described in VI. Reporting
and Notice of these General Terms and Conditions, for the length of time shown in Item 5 of the
General Declarations, commencing on the earlier of the expiration date or effective date of
cancellation. Such extension of time to report a Claim (herein referred to as the Extended
Reporting Period wherever it appears in this policy) shall apply only to Wrongful Acts committed,
attempted, or allegedly committed or attempted, prior to the earlier of the expiration date or
effective date of cancellation, and which are not otherwise excluded by any terms and conditions
of this policy. Any Claim first made during the Extended Reporting Period shall be deemed to
have been made during the Policy Period.

As a condition precedent to the right to purchase the Extended Reporting Period, the total
premium for this policy must have been paid and the premium for the Extended Reporting Period
must be paid in full with written notice of the Insured’s election to purchase the Extended
Reporting Period not more than 30 days after the earlier of the expiration date or effective date of
cancellation. The Insured’s right to purchase the Extended Reporting Period shall otherwise
lapse.

If the Extended Reporting Period is purchased, the additional premium shall be deemed fully
earned, and the Extended Reporting Period cannot be canceled by any Insured or the Insurer.

If any premium is owed for the policy, any premium received from the Named Insured shall first
be applied to the premium owing for the policy with the remainder applied to the premium for the
Extended Reporting Period. The Extended Reporting Period shall not take effect unless the
outstanding premium for the policy is paid in full and the premium for the Extended Reporting
Period is paid when due.

The purchase of the Extended Reporting Period shall not in any way increase or reinstate any
limits of liability.

IX. CHANGE OF CONTROL

If during the Policy Period:

A. the Named Insured shall consolidate with or merge into, or sell all or substantially all of its
   assets to any other person or entity or group of persons or entities acting in concert, or

B. any person or entity or group of persons or entities acting in concert shall acquire
   Management Control of the Named Insured,




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(A. and/or B. herein referred to as a Change In Control), then this policy may not be cancelled
thereafter and it shall not, in any event, apply to any Claim alleging in whole or in part any
Wrongful Acts committed, attempted or allegedly committed or attempted by any Insured
subsequent the date of such Change In Control.

The Named Insured shall give the Insurer written notice of the Change In Control as soon as
practicable, but no later than 30 days after the effective date of the Change In Control together
with such other information as the Insurer may require.

X. SUBROGATION

In the event of any payment under this policy, the Insurer shall be subrogated to the extent of
such payment to all the Insureds’ rights of recovery thereof, and the Insureds shall execute all
papers required and shall do everything that may be necessary to secure such rights, including
the execution of such documents necessary to enable the Insurer to bring suit effectively in the
name of any Insured. In no event, however, shall the Insurer exercise its rights of subrogation
against an Individual Insured under this policy unless such Individual Insured has been
convicted of a criminal act or been determined by a final, non-appealable adjudication in any
underlying proceeding to have committed a dishonest or fraudulent act or to have obtained any
profit or advantage to which such Individual Insured was not legally entitled.

In the event that the Insurer shall for any reason pay Indemnifiable Loss on behalf of an
Individual Insured, the Insurer’s subrogation rights shall include, but not be limited to, the
assertion of indemnification or contribution rights with respect to any such payments it makes or
advances. Additionally, upon the Insurer making any payment of Loss within the applicable
Retention, the Insurer shall have a direct contractual right under this policy to recover from the
Company, or in the event of the bankruptcy of the Company, from the debtor-in-possession (or
equivalent status outside the United States), such Loss which was paid within the Retention.
Such direct contractual right of recovery against the Company shall be in addition to and
independent of the Insurer’s subrogation right pursuant to this Section X. and any other rights
the Insurer may have under applicable law.

XI. REPRESENTATIONS AND SEVERABILITY

A. The Insureds represent that the information contained in the Application is true, accurate
   and complete. This policy is issued in reliance upon the material representations contained in
   the Application. If the Application contains material misrepresentations or omissions made
   with intent to deceive or that materially affect the acceptance of the risk or the hazard assumed
   by the Insurer, this policy shall not afford any coverage for any Insured who knew at the
   inception of the Policy Period of the facts that were misrepresented in, or were omitted from,
   the Application. The Application shall be deemed attached to, and incorporated into, this
   policy.

B. For the purpose of determining coverage for each Insured:

   1. the Application shall be construed as a separate application for coverage by each
      Insured;
   2. knowledge possessed by any Insured shall not be imputed to any Individual Insured;
      and




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    3. only knowledge possessed by the Named Insured’s chief executive officer, chief financial
       officer, or general counsel or the person signing the Application shall be imputed to a
       Company.

C. Except as described above, knowledge possessed by any Insured shall not be imputed to
   any other Insured.
D. Notwithstanding any other provision of this policy, the Insurer shall not rescind this Policy.

XII. NOTICE AND AUTHORITY

The Named Insured shall act on behalf of all Insureds with respect to the giving of notice of any
Claim, the giving and receiving of notice of cancellation and non-renewal, the payment of
premiums and the receiving of any return premiums that may become due under this policy, the
receipt and acceptance of any endorsements issued to form a part of this policy, the exercising
or declining of the right to tender the defense of a Claim to the Insurer, and the exercising or
declining to exercise any right to an Extended Reporting Period.

XIII. ASSIGNMENT

No change in, modification of or assignment of interest under this policy shall be effective except
when made by written endorsement to this policy which is signed by an authorized representative
of the Insurer.

XIV. ACTION

No action shall lie against the Insurer unless, as a condition precedent thereto, there shall have
been full compliance with all of the terms of this policy, nor until the amount of the Insured’s
obligation to pay shall have been finally determined either by final judgment against the Insured
or by written agreement of the Insured, the claimant and the Insurer.

Any person or entity, or the legal representative thereof, who has secured such judgment or
written agreement shall thereafter be entitled to recover under this policy to the extent of the
insurance afforded by this policy. No person or entity shall have any right under this policy to join
the Insurer as a party to any action against the Insured or a Company to determine the Insured’s
liability, nor shall the Insurer be impleaded by the Insured or a Company or their legal
representative.

XV. BANKRUPTCY

Bankruptcy or insolvency of any Insured or the Insured’s estate shall not relieve the Insurer of
its obligations nor deprive the Insurer of its rights or defenses under this policy.

XVI. COVERAGE TERRITORY

Where legally permissible, this policy shall apply to any Claim made against any Insured
anywhere in the world.

For Claims made and maintained and Wrongful Acts committed in any jurisdiction other than
the United States of America or any of its territories or possessions, all premiums, limits of liability,
Retentions, Loss and other amounts are expressed and payable in the currency of the United
States of America. If judgment is rendered,


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settlement is denominated or other elements of Loss are stated or incurred in a currency other
than United States of America dollars, payment of covered Loss (subject to the terms, conditions
and limitations of this policy) will be made either in such other currency (at the option of the
Insurer and if agreeable to the Named Insured) or in United States of America dollars at the rate
of exchange published in The Wall Street Journal on the next publication date of The Wall Street
Journal after the Insurer’s obligation to pay such Loss is established.

XVII. GOVERNMENTAL RESTRICTIONS

This policy does not apply to the extent that trade or economic sanctions or other laws or
regulations prohibit the Insurer from providing insurance.

XVIII. HEADINGS

The descriptions in the headings and subheadings of this policy, including in any Coverage
Section, are solely for convenience and form no part of the terms and conditions of coverage.




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Directors & Officers and Corporate Securities Liability Coverage Section Declarations


1. NAMED INSURED:             Synapse Financial Technologies, Inc.


2. POLICY PERIOD:             Inception:   October 15, 2023
                              Expiration:  July 15, 2024
                              The Policy Period incepts and expires as of 12:01 A.M. at the
                              Named Insured Address.


3. (a) COVERAGE SECTION LIMIT OF LIABILITY:                      $1,000,000
   (b) Derivative Demand Investigation Sub-Limit of Liability:   $150,000


4. RETENTIONS:

(a) Each Claim under Coverage A:                               $0
(b) Each Claim other than a Securities Claim under Coverage B: $1,000,000
(c) Each Securities Claim under Coverage B or C:               $1,000,000
(d) Each Derivative Demand under Coverage D:                   $0


5. CONTINUITY DATE:           July 21, 2016




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    Directors & Officers and Corporate Securities Liability Coverage Section

    In consideration of the premium charged, in reliance upon the statements made by the
    Insureds in the Application, which forms a part of this policy, and subject to all terms
    and conditions, the Insurer agrees as follows:

    I. Insuring Agreements

    Coverage A: Individual Insurance Coverage

    The Insurer shall pay Loss of an Individual Insured arising from a Claim first made
    against such Individual Insured during the Policy Period or the Extended Reporting
    Period, if applicable, for any Wrongful Act of such Individual Insured, except when
    and to the extent that a Company has indemnified the Individual Insured for such
    Loss.

    Coverage B: Company Reimbursement Coverage

    The Insurer shall pay Loss of a Company arising from a Claim first made against an
    Individual Insured during the Policy Period or the Extended Reporting Period, if
    applicable, for any Wrongful Act of such Individual Insured, but only when and to
    the extent that such Company has indemnified such Individual Insured for such Loss.

    Coverage C: Company Coverage

    The Insurer shall pay Loss of a Company arising from a Securities Claim first made
    against a Company during the Policy Period or the Extended Reporting Period if
    applicable for any Wrongful Act of a Company.

    Coverage D: Derivative Demand Investigation Costs Coverage

    The Insurer shall pay Investigation Costs up to the amount of the Derivative
    Demand Investigation Sub-Limit of Liability set forth in Item 3(b) of the Directors &
    Officers and Corporate Securities Liability Coverage Section Declarations incurred by
    a Company solely in response to a Derivative Demand first made and reported to the
    Insurer during the Policy Period. Payment of any Investigation Costs under this
    Coverage Section shall not waive any of the Insurer’s rights under this policy or at
    law.

    II.      Definitions

    In addition to the Definitions in the General Terms and Conditions, the following terms
    whenever set forth in boldface type in this Coverage Section, whether in singular or
    in plural, shall have the meanings indicated.

    A. Claim means

          1. a written demand, other than a Derivative Demand, for monetary, non-
             monetary or injunctive relief (including any request to toll or waive any statute



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          of limitations and including any demand for mediation, arbitration or any other
          alternative dispute resolution process);
       2. a civil, criminal, administrative, regulatory or arbitration proceeding for
          monetary, nonmonetary or injunctive relief which is commenced by:

               (i)     service of a complaint or similar pleading;
               (ii)    return of an indictment, information or similar document (in the case
                       of a criminal proceeding); or
               (iii)   receipt or filing of a notice of charges;

       3. a civil, criminal, administrative or regulatory investigation of an Individual
          Insured:

               (i) once such Individual Insured is identified in writing by such
                    investigating authority or enforcement body as a person against whom
                    a proceeding described in subparagraph 2 of this Definition may be
                    commenced; or
               (ii) in the case of an investigation by the Securities and Exchange
                    Commission(“SEC”) or a similar state or foreign government authority,
                    after:

                        (a) the service of a subpoena upon such Individual Insured; or
                        (b) the Individual Insured is identified in a written “Wells” or other
                            notice from the SEC or a similar state or foreign government
                            authority that describes actual or alleged violations of laws by
                            such Individual Insured;

       4. a formal request for the extradition of an Individual Insured in any country by
          another country for trial or to answer a criminal accusation.

    B. Defense Costs means reasonable and necessary fees, costs and expenses
       consented to by the Insurer (including premiums for any appeal bond, attachment
       bond or similar bond arising out of a covered judgment, but without any obligation
       to apply for or furnish any such bond), resulting solely from the investigation,
       adjustment, defense and appeal of a Claim against an Insured, but excluding
       compensation of any Individual Insured. Defense Costs shall not include any
       fees, costs or expenses incurred prior to the time that a Claim is first made against
       an Insured.

    C. Derivative Demand means a written demand by one or more security holders of
       a Company, without the assistance, participation or solicitation of any Executive,
       upon the board of directors (or equivalent management body) of such Company
       requesting that it file on behalf of the Company a civil proceeding in a court of law
       against any Executive for a Wrongful Act.

    D. Employee means any past, present or future employee of a Company, whether
       such employee is in a supervisory, co-worker or subordinate position or otherwise,
       including:

       1. any part-time, seasonal and temporary employee,
       2. volunteer, individual who is contracted to perform work for a Company, or
          independent contractor for a Company in his or her capacity as such, or
       3. any individual who is leased to a Company,



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       but only if such Company provides indemnification to such employees, volunteers
       or individuals in the same manner as is provided to such Company’s own
       employees; provided, however, a Company may request that no coverage be
       provided under this Coverage Section for an independent contractor or leased
       employee named in a specific Claim. Such request must be made in writing and
       within 90 days of the Claim being reported to the Insurer. If no such request is
       made, this Coverage Section shall apply as if the Company determined that such
       independent contractor or leased employee shall receive coverage.

    E. Employment Practices Violation means the following actual or alleged acts
       whether committed directly or indirectly, intentionally or unintentionally:

       1. wrongful, including constructive termination of employment (actual or
           constructive),dismissal or discharge;
       2. breach of an implied contract of employment;
       3. harassment, sexual harassment or creation of a hostile work environment;
       4. discrimination (including, but not limited to, discrimination based upon age,
           gender, race, color, national origin, religion, sexual orientation or preference,
           pregnancy or disability);
       5. Retaliation;
       6. employment-related misrepresentations to an Employee of a Company or
           applicant for employment with a Company or an Outside Entity;
       7. employment-related libel, slander, humiliation, defamation or invasion of
           privacy;
       8. wrongful failure to employ or promote;
       9. wrongful deprivation of a career opportunity with a Company, wrongful
           discipline, wrongful demotion or negligent Employee evaluation, including the
           giving of negative or defamatory statements in connection with an Employee
           reference;
       10. failure to grant tenure; or
       11. with respect to 1 through 10 above, negligent hiring, retention, training,
           supervision, infliction of emotional distress or mental anguish, failure to provide
           or enforce adequate or consistent organizational policies and procedures, or
           violation of an individual’s civil rights;

       but only if the actual or alleged Employment Practices Violation is brought by an
       Employee or an Outside Entity Employee, or by an applicant for employment
       with a Company or an Outside Entity.

    F. Executive means

       1. any natural person who was, now is or shall become a duly elected or
          appointed director, officer, trustee, governor, general partner, managing
          general partner, venture partner, administrative general partner, principal,
          management committee member of a duly constituted committee, or member
          of the Board of Managers of a Company;
       2. any past, present or future person in a duly elected or appointed position in a
          Company which is organized and operated in a jurisdiction other than the
          United States of America or any of its territories or possessions that is
          equivalent to an executive position listed in paragraph 1. of this Definition; or
       3. any past, present or future General Counsel, Chief Compliance Officer, or Risk
          Manager (or equivalent position) of the Named Insured.

    G. Individual Insured means any


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         1. Executive;
         2. Employee; or
         3. Outside Entity Executive

    H. Insured means any

         1. Company; or
         2. Individual Insured.

    I.   Investigation Costs means the reasonable and necessary costs, charges, fees
         and expenses consented to by the Insurer (including, but not limited to, attorney’s
         fees and expert’s fees but not including any settlement, judgment or damages and
         not including any compensation or fees of any Individual Insured) incurred by the
         Company or its board of directors (or any equivalent management body), or any
         committee of the board of directors(or any equivalent management body), solely in
         connection with the investigation or evaluation of a Derivative Demand.

    J. Loss means

         1. the amount that any Insured becomes legally obligated to pay in connection
            with any covered Claim, including, but not limited to:

                (i)     judgments (including pre-judgment and post-judgment interest on
                        any covered portion thereof) and settlements; and
                (ii)    damages, including punitive or exemplary damages and the multiple
                        portion of multiplied damages relating to punitive or exemplary
                        damages to the extent allowed by applicable law. The enforceability
                        of this subparagraph (ii) shall be governed by such applicable law
                        that most favors coverage for such punitive, exemplary and multiple
                        damages;

         2. Defense Costs;
         3. with respect to Coverage D of this Coverage Section, Investigation Costs.

         Loss shall not include, other than Defense Costs:

         1. any amount for which the Insureds are not financially liable or which are
            without legal recourse to the Insureds;
         1. matters which may be deemed uninsurable under the law pursuant to which
            this policy shall be construed, provided that the Insurer shall not assert that, in
            a Securities Claim alleging violations of Section 11, 12 or 15 of the Securities
            Act of 1933, as amended, the portion of any amounts incurred by Insureds
            which is attributable to such violations constitutes uninsurable loss, and, unless
            precluded from doing so in a court order, shall treat that portion of all such
            settlements, judgments and Defense Costs as constituting Loss under this
            Coverage Section;
         2. civil or criminal fines or penalties;
         3. taxes or tax penalties (whether imposed by federal, state, local or other
            governmental authority);
         4. the costs and expenses of complying with any injunctive relief or other form of
            nonmonetary relief;
         5. compensation, salary, wages, fees, benefits, overhead, charges or expenses
            of any Insured;



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       6. any amounts owed pursuant to the terms of any contract or agreement,
          including any amounts related to any such exposures based on the contract or
          agreement;
       7. any amount representing the increase in price or consideration where the
          Claim involves allegations that the price or consideration paid or offered to be
          paid for a merger, consolidation or acquisition of all or a majority of stock issued
          by or assets owned by any person or entity is inadequate or unfair; or
       8. any reimbursement required under the Sarbanes-Oxley Act of 2002 or any
          rules, regulations or amendments promulgated thereunder, or any other type
          of reimbursement, restitution or disgorgement.

    K. Outside Entity means any not-for-profit organization, other than a Subsidiary.

    L. Outside Entity Executive means any Executive of a Company serving in the
       capacity as director, officer, trustee, trustee emeritus or governor of an Outside
       Entity, but only if such service is at the specific request or direction of a Company.
       In the event of a disagreement between a Company and an individual as to
       whether such individual was acting at the specific request or direction of such
       Company, this Coverage Section shall abide by the determination of the Named
       Insured on this issue and such determination shall be made by written notice to
       the Insurer within 90 days after the Claim first is reported to the Insurer pursuant
       to the terms of the policy. In the event no determination is made within such period,
       this Coverage Section shall apply as if the Named Insured determined that such
       Executive was not acting at such Company’s specific request or direction.

    M. Pollutants means any solid, liquid, gaseous, biological, radiological or thermal
       irritant or contaminant, including smoke, vapor, dust, fibers, mold, spores, fungi,
       germs, soot, fumes, acids, alkalis, chemicals and Waste. “Waste” includes, but is
       not limited to, materials to be recycled, reconditioned or reclaimed and nuclear
       materials.

    N. Securities Claim means a Claim made against any Insured:
       1. alleging a violation of any federal, state, local or foreign regulation, rule or
          statute regulating securities, including, but not limited to, the purchase or sale,
          or offer or solicitation of an offer to purchase or sell securities which is:
              (i) brought by any person or entity alleging, arising out of, based upon or
                   attributable to the purchase or sale of, or offer or solicitation of an offer
                   to purchase or sell, any securities of a Company; or
              (ii) brought by a security holder of a Company with respect to such security
                   holder’s interest in securities of such Company; or
       2. brought derivatively on behalf of a Company by a security holder of such
          Company.

    O. Subsidiary means
       1. any entity in which the Company has or had Management Control on or
          before the inception date of the policy either directly or indirectly through one
          or more other Subsidiaries;
       2. any entity in which the Company acquires Management Control during the
          Policy Period, either directly or indirectly through one or more other
          Subsidiaries; and whose assets do not exceed 35% of the assets of the
          Company, prior to the Company acquiring Management Control of the
          Subsidiary; or
       3. any entity in which the Company acquires Management Control during the
          Policy Period, either directly or indirectly through one or more other
          Subsidiaries and whose assets exceed 35% of the assets of the Company,

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           prior to the Company acquiring Management Control of the Subsidiary but
           only for a period of 90 days subsequent to the Company acquiring
           Management Control of the Subsidiary.

    P. Wrongful Act means
       1. any actual or alleged breach of duty, neglect, error, misstatement, misleading
          statement, omission or act, including but not limited to an Employment
          Practices Violation, by an Individual Insured in his or her capacity as such,
          or any matter claimed against such Individual Insured solely by reason of his
          or her status as an Executive, Employee, or Outside Entity Executive; or
       2. any actual or alleged breach of duty, neglect, error, misstatement, misleading
          statement, omission or act by a Company in connection with a Securities
          Claim.

    III. Exclusions

    The Insurer shall not be liable to make any payment for Loss in connection with any
    Claim made against any Insured:

    A. alleging, arising out of, based upon or attributable to:
       1. gaining of any profit, remuneration or advantage to which the Insured was not
           legally entitled, if a final, non-appealable adjudication in any underlying
           proceeding establishes the gaining of such profit, remuneration or advantage;
           or
       2. committing of any deliberate criminal or deliberate fraudulent act, or any willful
           violation of any statute, rule or law, if a final, non-appealable adjudication in any
           underlying proceeding establishes that such deliberate criminal or deliberate
           fraudulent act, or willful violation of statute, rule or law was committed.

       For purposes of determining the applicability of this Exclusion, (i) the facts
       pertaining to and knowledge possessed by any Insured shall not be imputed to
       any Individual Insured; and (ii) only facts pertaining to and knowledge possessed
       by any past, present or future chief executive officer or chief financial officer shall
       be imputed to such Company;

    B. alleging, arising out of, based upon or attributable to the circumstances alleged or
       the same Wrongful Act or Related Wrongful Act alleged or contained in any
       claim or demand which has been reported, or to any circumstances, Wrongful Act
       or Related Wrongful Act of which notice has been given, under any prior insurer’s
       policy or policy of which this Coverage Section is a renewal or replacement or
       which it may succeed in time;

    C. alleging, arising out of, based upon or attributable to any demand, suit or other
       proceeding pending against, or order, decree or judgment entered for or against,
       any Insured on or prior to the Continuity Date set forth in Item 5 of the Directors &
       Officers and Corporate Securities Liability Coverage Section Declarations, or the
       alleging of any Wrongful Act which is the same as or a Related Wrongful Act to
       that alleged in such pending or prior demand, suit or proceeding or in the underlying
       demand, order, decree or judgment;

    D. alleging, arising out of, based upon or attributable to any Wrongful Act committed
       or allegedly committed by an Individual Insured in his or her capacity as an
       Outside Entity Executive prior to the Continuity Date set forth in Item 5 of the
       Directors & Officers and Corporate Securities Liability Coverage Section
       Declarations if any Insured, as of such Continuity Date, knew or could have

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       reasonably foreseen that such Wrongful Act could lead to a Claim under this
       Coverage Section;

    E. alleging, arising out of, based upon or attributable to any actual or alleged act, error
       or omission of an Individual Insured serving in any capacity other than as an
       Executive or Employee of a Company or as an Outside Entity Executive of an
       Outside Entity;

    F. which is brought by or on behalf of any Insured in any capacity, or by any entity
       that owns more than 50% of the outstanding securities of the Named Insured.
       This Exclusion shall not apply to:
           1. any Claim brought or maintained derivatively on behalf of a Company
              by one or more securityholders of such Company; provided such Claim
              is brought and maintained without any active assistance or participation of,
              or solicitation by any Individual Insured, other than assistance, for which
              18 U.S.C. 1514A(a) (the Sarbanes-Oxley Act of 2002), or any similar
              “whistleblower” protection provision of any applicable federal, state, local or
              foreign securities law, affords protection to such Individual Insured;
           2. any employment Claim brought or maintained by or on behalf of an
              Individual Insured;
           3. any Claim brought or maintained by an Individual Insured for contribution
              or indemnity, if such Claim directly results from another Claim covered
              under this Coverage Section;
           4. any Claim brought or maintained against an Individual Insured by a
              bankruptcy or insolvency trustee, examiner, receiver, any assignee of
              such trustee, examiner or receiver, or any creditors’ committee, that has
              been appointed to take control of, supervise, manage or liquidate the
              Named Insured;
           5. any Claim brought or maintained by an Individual Insured if such
              Individual Insured has not served in the capacity of an Individual
              Insured within any of the three (3) years immediately preceding the date
              the Claim was made, and such Claim is brought and maintained totally
              independent of and without the solicitation, assistance, active
              participation, or intervention of any other Insured;
           6. any Claim brought and maintained outside the United States of America or
              any of its territories or possessions, Canada or any other common law
              country (including any territories thereof); or
           7. any Claim brought or maintained by an Employee of a Company;
              provided such Employee is not and has never been an Executive of any
              Company;


    G. for bodily injury, personal injury, emotional distress, mental anguish, sickness,
       disease or death of any person, or damage to, loss of use or destruction of any
       data or tangible property. This Exclusion shall not apply to a Securities Claim;

    H. for any actual, alleged or threatened discharge, dispersal, release or escape of
       Pollutants, or any direction or request to test for, monitor, clean up, remove,
       contain, treat, detoxify or neutralize Pollutants. Other than for expenses (including,
       but not limited to, legal and professional fees) incurred in testing for, monitoring,
       cleaning up, removing, containing, treating, neutralizing, detoxifying or assessing
       the effects of Pollutants, this Exclusion shall not apply to:

       A. a Claim under Coverage A of this Coverage Section; or
       B. Loss in connection with a Securities Claim;

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    I.   for any actual or alleged violations of any of the responsibilities, obligations or
         duties imposed by the Employee Retirement Income Security Act of 1974, the Fair
         Labor Standards Act, the National Labor Relations Act, the Worker Adjustment and
         Retraining Notification Act, the Worker Adjustment and Retraining Notification Act,
         the Consolidated Omnibus Budget Reconciliation Act, the Occupational Safety and
         Health Act, any workers’ compensation, unemployment compensation,
         unemployment insurance, retirement benefits, social security benefits, disability
         benefits, any rules or regulations of the foregoing promulgated thereunder, and
         amendments thereto, or any similar federal, state, local or foreign statutory law or
         common law. This Exclusion shall not apply to a Securities Claim;

    J. The Insurer shall not be liable to make any payment for any Investigation Costs
       in connection with any Derivative Demand under Coverage D:

         1. alleging, arising out of, based upon or attributable to any fact, circumstance,
            situation, transaction, event or Wrongful Act which has been reported under
            any policy of which this Coverage Section is a renewal or replacement or
            which it may succeed in time;
         2. alleging, arising out of, based upon or attributable to any demand, suit or other
            proceeding pending against, or order, decree or judgment entered for or
            against, any Insured on or prior to the Continuity Date set forth in Item 5 of the
            Directors & Officers and Corporate Securities Liability Coverage Section
            Declarations, or involving any Derivative Demand which is the same or related
            to that at issue in any pending or prior demand, suit, proceeding or in the
            underlying demand, order, decree or judgment;

    IV. Limit of Liability

    The following provisions shall apply in addition to the provisions of Section IV. Limit of
    Liability of the General Terms and Conditions:

    A. Subject to the Policy Aggregate Limit of Liability set forth in Item 3 of the General
       Declarations, the Coverage Section Limit of Liability set forth in Item 3(a) of the
       Directors & Officers and Corporate Securities Liability Coverage Section
       Declarations shall be the maximum aggregate limit of the Insurer’s liability for all
       Loss under this Coverage Section. Upon exhaustion of the Limit of Liability set
       forth in Item 3(a) of the Directors & Officers and Corporate Securities Liability
       Coverage Section Declarations, or the Policy Aggregate Limit of Liability in Item
       3 of the General Declarations, the Insurer’s obligations under this Coverage
       Section shall be deemed completely fulfilled and extinguished.

    B. The maximum limit of the Insurer’s liability for all Investigation Costs incurred in
       response to Derivative Demands made during the Policy Period, in the
       aggregate, shall be the Derivative Demand Investigation Sub-Limit of Liability
       set forth in Item 3(b) of the Directors & Officers and Corporate Securities Liability
       Coverage Section Declarations. The Derivative Demand Investigation Sub-
       Limit of Liability shall be the maximum limit of the Insurer under this Coverage
       Section for all Investigation Costs regardless of the number of Derivative
       Demands made during the Policy Period or the number of Executives subject to
       such Derivative Demands and shall be part of, and not in addition to, the
       Coverage Section Limit of Liability set forth in Item 3(a) of the Directors & Officers
       and Corporate Securities Liability Coverage Section Declarations which is also
       part of and not in addition to the Policy Aggregate Policy Limit of Liability set forth
       in Item 3 of the General Declarations.

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    V. Retentions

    The following provisions shall apply in addition to the provisions of Section V.
    Retentions of the General Terms and Conditions:

    A. The Insurer shall only be liable for the amount of Loss arising from a Claim which
       is in excess of the applicable Retention set forth in Item 4 of the Directors & Officers
       and Corporate Securities Liability Coverage Section Declarations. The Retention
       shall be borne by the Insureds and shall remain uninsured, with regard to:

       1. all Loss for which the Company is required or permitted to provide
          indemnification to an Individual Insured; and
       2. Loss of a Company.

    B. A single Retention shall apply to Loss arising from all Claims alleging the same
       Wrongful Act or Related Wrongful Acts.

    C. The Retention set forth in Item 4(a) of the Directors & Officers and Corporate
       Securities Liability Coverage Section Declarations shall apply to each Claim
       under Coverage A of this Coverage Section. The Retention set forth in Item 4(b)
       of the Directors & Officers and Corporate Securities Liability Coverage Section
       Declarations shall apply to each Claim other than a Securities Claim under
       Coverage B of this Coverage Section. The Retention set forth in Item 4(c) of the
       Directors & Officers and Corporate Securities Liability Coverage Section
       Declarations shall apply to each Securities Claim under Coverage B or Coverage
       C of this Coverage Section. The Retention set forth in Item 4(d) of the Directors
       & Officers and Corporate Securities Liability Coverage Section Declarations shall
       apply to each Derivative Demand under Coverage D of this Coverage Section.

    D. The Retention applicable to Coverage B shall apply to Indemnifiable Loss,
       whether or not actual indemnification is made, unless such indemnification is not
       made by a Company solely by reason of its Financial Insolvency. A Company’s
       certificate of incorporation, charter or other organization documents, including by-
       laws and resolutions, shall be deemed to require indemnification and advancement
       to an Individual Insured to the fullest extent permitted by law. In the event a
       Company is unable to pay the applicable Retention due to Financial Insolvency,
       then the Insurer shall advance payment for Loss within the applicable Retention.
       The Insurer shall be entitled to recover the amount of Loss advanced within the
       Retention from such Company pursuant to Section VI.B. of this Coverage Section
       and Section X. Subrogation of the General Terms and Conditions.

    VI. Defense Costs, Defense Counsel, Settlements & Judgments

    A. Defense

       The Insurer does not assume any duty to defend a Claim. The Insureds shall
       defend and contest any Claim made against them. An Insured shall not retain
       defense counsel or incur any Defense Costs without the prior written consent of
       the Insurer, such consent not to be unreasonably withheld. An Insured may select
       a defense counsel different from that selected by other Insureds if such selection
       is required due to an actual conflict of interest and only with the express prior
       written consent of the Insurer.

    B. Advancement

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       The Insurer shall advance Defense Costs in excess of the applicable Retention
       on behalf of the Insured prior to final disposition of the Claim. Such advanced
       payments by the Insurer shall be repaid to the Insurer by each and every Insured,
       severally according to their respective interests, in the event and to the extent that
       any such Insured shall not be entitled under the Terms and Conditions of this
       Coverage Section to payment of such Loss.

    C. Cooperation

       The Insurer shall have the right to associate fully and effectively with each and
       every Insured in the defense of any Claim that appears reasonably likely to involve
       the Insurer, including, but not limited to, negotiating a settlement. Each and every
       Insured agrees to provide such information as the Insurer may reasonably require
       and to give the Insurer full cooperation and take such actions which, in such
       Insurer’s judgment, are deemed necessary and practicable to prevent or limit Loss
       arising from any Wrongful Act.

    D. Prior Written Consent

       The Insured shall not admit or assume any liability, enter into any settlement
       agreement, stipulate to any judgment, or incur any Defense Costs or
       Investigation Costs without the prior written consent of the Insurer. If the Insured
       admits or assumes any liability in connection with any Claim without the consent
       of the Insurer, then the Insurer shall not have any obligation to pay Loss with
       respect to such Claim. Only those settlements, stipulated judgments, Defense
       Costs and Investigation Costs which have been consented to by the Insurer
       shall be recoverable as Loss under the terms of this Coverage Section. The
       Insurer shall not unreasonably withhold any consent required under this Coverage
       Section, provided that in all events the Insurer may withhold consent to any
       settlement, stipulated judgment or Defense Costs, or any portion thereof, to the
       extent such Claim (or any portion thereof) is not covered under the terms of this
       Coverage Section. In addition, the Insured shall not take any action which
       prejudices the Insurer’s rights under this Coverage Section.

    VII. Other Insurance

    Such insurance as is provided by this Coverage Section shall apply only as excess
    over any other valid and collectible insurance, unless such other insurance is expressly
    written to be excess over any applicable Limit of Liability for this policy or any
    Coverage Section. This policy specifically shall be excess of any other policy pursuant
    to which any other Insurer has a duty to defend a Claim for which this policy may be
    obligated to pay Loss. For any Claim involving an Outside Entity Executive, this
    policy shall be specifically excess of any indemnification by the Outside Entity and
    any insurance coverage afforded to any such Outside Entity Executive or Outside
    Entity.

    VIII. Allocation

    If both Loss covered under this Coverage Section and loss not covered under this
    Coverage Section are incurred by the Insureds on account of any Claim because
    such Claim against the Insureds includes both covered and non-covered matters
    and/or includes both covered and non-covered parties, then amounts incurred by the
    Insured on account of such Claim shall be allocated between covered Loss and non-
    covered loss based on the relative legal liability and financial exposure of the Insureds

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    to covered and non-covered matters and/or based on the relative legal and financial
    exposure of the covered and non-covered parties. The Insureds and Insurer agree
    to use their best efforts to determine a fair and proper allocation.

    If the Insureds and the Insurer cannot agree on an allocation of covered Loss and
    non-covered loss:

    A. the Insurer shall pay the amount of Loss that the Insurer and Insureds agree is
       not in dispute until a different allocation is negotiated, arbitrated, or judicially
       determined;
    B. no presumption as to allocation shall exist in any arbitration, suit or other
       proceeding; and
    C. the Insurer, if requested by the Insureds, shall submit the dispute to binding
       arbitration. The rules of the American Arbitration Association shall apply except
       with respect to the selection of the arbitration panel, which shall consist of one
       arbitrator selected by the Insureds, one arbitrator selected by the Insurer, and a
       third independent arbitrator selected by the first two arbitrators.

    IX. Coverage under Coverage D

    It is understood and agreed that the Company shall be entitled to payment under
    Coverage D of this Coverage Section for Investigation Costs not greater than 90
    days after the Company has made its final decision not to bring a civil proceeding in
    a court of law against any of its Executives, and such decision has been
    communicated to the security holders who made the demand upon the Company.

    Nothing in this Coverage Section, including Coverage D, shall be construed to afford
    coverage for any Claim brought by the Company against one or more of its own
    Executives, other than Investigation Costs incurred in a covered Derivative
    Demand or as otherwise provided under Section III.F. of this Coverage Section.

    X. Order of Payments

    In the event of Loss arising from any Claim for which payment is due under the
    provisions of this Coverage Section but which Loss, in the aggregate, exceeds the
    remaining available Limits of Liability applicable to this Coverage Section, (including
    by virtue of the depletion of the Policy Aggregate Limit of Liability), then the Insurer
    shall:

    A. first pay such Loss for which coverage is provided under Coverage A of this
       Coverage Section;
    B. then pay such Loss for which coverage is provided under Coverage B of this
       Coverage Section; and
    C. then pay such other Loss for which coverage is provided under this policy.

    Upon the written request of the Named Insured, the Insurer shall either pay or
    withhold payment for Loss otherwise payable under Coverages B, C, or D. In the event
    that the Insurer withholds payment as requested by the Named Insured, then the
    Insurer shall at any time in the future, at the request of the Named Insured, release
    such Loss payment to a Company, or make such Loss payment directly to the
    Individual Insured in the event of any Claim under Coverage A of this Coverage
    Section. The Insurer’s liability with respect to any payments of Loss withheld shall
    not be increased, and shall not include any interest, as a result of such withholding.



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    The Financial Insolvency of any Company or any Individual Insured shall not
    relieve the Insurer of any of its obligations to prioritize payment of covered Loss under
    this Coverage Section pursuant to this Section X.




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ENDORSEMENT NUMBER                    1
NAMED INSURED                         Synapse Financial Technologies, Inc.
POLICY NUMBER                         EFI1203189-02
EFFECTIVE DATE                        October 15, 2023


This endorsement modifies only the selected COVERAGE SECTION(s) as indicated by an “X”
below, and if applicable, the GENERAL TERMS AND CONDITIONS as they apply to the
COVERAGE SECTION(s) indicated by an “X” below

       Directors & Officers and Corporate Securities Liability Coverage Section
       Private Company Management Liability Coverage Section
       Investment Adviser Professional Liability Coverage Section
       Investment Fund Coverage Section
       Insurance Company Professional Liability Coverage Section
       Bankers Professional Liability Coverage Section
       Employment Practices Liability Coverage Section
       Fiduciary Liability Coverage Section



            PROFESSIONAL SERVICES E&O EXCLUSION

   The Insurer shall not be liable to pay any Loss from any Claim made against any Insured
   alleging, arising out of, based upon or attributable to any actual or alleged error, misstatement,
   misleading statement, act, omission, neglect or breach of duty committed, attempted or
   allegedly committed or attempted in connection with the rendering of, or actual or alleged
   failure to render, any professional services for others by any person or entity otherwise entitled
   to coverage under this Coverage Section; provided, however, that this Exclusion shall not
   apply to Loss in connection with a Securities Claim.



All other terms, conditions and limitations of this Policy shall remain unchanged.




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ENDORSEMENT NUMBER                    2
NAMED INSURED                         Synapse Financial Technologies, Inc.
POLICY NUMBER                         EFI1203189-02
EFFECTIVE DATE                        October 15, 2023


This endorsement modifies only the selected COVERAGE SECTION(s) as indicated by an “X”
below, and if applicable, the GENERAL TERMS AND CONDITIONS as they apply to the
COVERAGE SECTION(s) indicated by an “X” below

       Directors & Officers and Corporate Securities Liability Coverage Section
       Private Company Management Liability Coverage Section
       Investment Adviser Professional Liability Coverage Section
       Investment Fund Coverage Section
       Insurance Company Professional Liability Coverage Section
       Bankers Professional Liability Coverage Section
       Employment Practices Liability Coverage Section
       Fiduciary Liability Coverage Section


                     MONEY LAUNDERING EXCLUSION

In consideration of the premium charged, it is agreed that the Insurer shall not be liable to make
any payment for Loss in connection with any Claim made against any Insured alleging, arising
out of, based upon or attributable to any act or acts (or alleged act or acts) of Money
Laundering, or any act or acts (or alleged act or acts) which are in breach of and/or constitute
an offense or offenses under any money laundering legislation.

Money Laundering means:
  (i) the concealment, or disguise, or conversion, or transfer, or removal of criminal property
        (including concealing or disguising its nature, source, location, disposition, movement or
        ownership or any rights relating thereto); or
  (ii) the entering into or becoming in any way concerned in an arrangement which is known
        or suspected to facilitate (by whatever means) the acquisition, retention, use or control of
        criminal property by or on behalf of another person; or
  (iii) the acquisition, use or possession of criminal property; or
  (iv) any act which constitutes an attempt, conspiracy or incitement to commit any act or acts
        mentioned in the foregoing paragraphs (i), (ii) or (iii); or
  (v) any act which constitutes aiding, abetting, counselling or procuring the commission of
        any act or acts mentioned in the foregoing paragraphs (i), (ii) or (iii).


All other terms, conditions and limitations of this Policy shall remain unchanged.




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ENDORSEMENT NUMBER                    3
NAMED INSURED                         Synapse Financial Technologies, Inc.
POLICY NUMBER                         EFI1203189-02
EFFECTIVE DATE                        October 15, 2023


This endorsement modifies only the selected COVERAGE SECTION(s) as indicated by an “X”
below, and if applicable, the GENERAL TERMS AND CONDITIONS as they apply to the
COVERAGE SECTION(s) indicated by an “X” below

       Directors & Officers and Corporate Securities Liability Coverage Section
       Private Company Management Liability Coverage Section
       Investment Adviser Professional Liability Coverage Section
       Investment Fund Coverage Section
       Insurance Company Professional Liability Coverage Section
       Bankers Professional Liability Coverage Section
       Employment Practices Liability Coverage Section
       Fiduciary Liability Coverage Section


     THEFT OR LOSS OF CRYPTO CURRENCY EXCLUSION

In consideration of the premium charged, it is agreed that Section III, Exclusions, of the Private
Company Management Liability Coverage Section is amended by the addition of the following:

The Insurer shall not be liable to make any payment of Loss in connection with any Claim
alleging, arising out of, based upon, in consequence of or attributable to any theft, appropriation,
misappropriation, conversion, loss, or disappearance of any crypto currency, crypto token or
coin, digital token or coin, utility token or coin, or similar digital asset




All other terms, conditions and limitations of this Policy shall remain unchanged.




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ENDORSEMENT NUMBER                   4
NAMED INSURED                        Synapse Financial Technologies, Inc.
POLICY NUMBER                        EFI1203189-02
EFFECTIVE DATE                       October 15, 2023


This endorsement modifies only the selected COVERAGE SECTION(s) as indicated by an “X”
below, and if applicable, the GENERAL TERMS AND CONDITIONS as they apply to the
COVERAGE SECTION(s) indicated by an “X” below

       Directors & Officers and Corporate Securities Liability Coverage Section
       Private Company Management Liability Coverage Section
       Investment Adviser Professional Liability Coverage Section
       Investment Fund Coverage Section
       Insurance Company Professional Liability Coverage Section
       Bankers Professional Liability Coverage Section
       Employment Practices Liability Coverage Section
       Fiduciary Liability Coverage Section


                  CYBER AND DATA EXCLUSION WITH
                   SECURITIES CLAIM CARVE-BACK

In consideration of the Premium charged, it is agreed that:

 1.   Notwithstanding any provision to the contrary within this Policy or any endorsement
      thereto this Policy excludes any Loss arising out of:
      •     a Cyber Incident;
      •     a Cyber Act; or
      •     a breach of Data Protection Law by the Insured, or parties acting for the Insured,
            involving access to, processing of, use of or operation of any Computer System
            or Data;

      unless subject to the provisions of paragraph 2.
 2.   Subject to all the terms, conditions, limitations and exclusions of this Policy or any
      endorsement thereto, paragraph 1 shall not apply to any Securities Claim.


 Definitions
 3.   Computer System means any computer, hardware, software, communications system,
      electronic device (including, but not limited to, smart phone, laptop, tablet, wearable
      device), server, cloud or microcontroller including any similar system or any configuration
      of the aforementioned and including any associated input, output, data storage device,
      networking equipment or back up facility, owned or operated by the Insured or any other
      party.


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 4.    Cyber Act means an unauthorised, malicious or criminal act or series of related
       unauthorised, malicious or criminal acts, regardless of time and place, or the threat or
       hoax thereof involving access to, processing of, use of or operation of any Computer
       System.
 5.    Cyber Incident means:
       5.1   any error or omission or series of related errors or omissions involving access to,
             processing of, use of or operation of any Computer System; or
       5.2   any partial or total unavailability or failure or series of related partial or total
             unavailability or failures to access, process, use or operate any Computer
             System.
 6.    Data means information, facts, concepts, code or any other information of any kind
       that is recorded or transmitted in a form to be used, accessed, processed, transmitted or
       stored by a Computer System.
 7.    Data Protection Law means all applicable data protection and privacy legislation,
       regulations in any country, province, state, territory or jurisdiction which governs the use,
       confidentiality, integrity, security and protection of personal data, and any guidance or
       codes of practice issued by any data protection regulator or authority from time to time
       (all as amended, updated or re-enacted from time to time).




All other terms, conditions and limitations of this Policy shall remain unchanged.




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ENDORSEMENT NUMBER                     5
NAMED INSURED                          Synapse Financial Technologies, Inc.
POLICY NUMBER                          EFI1203189-02
EFFECTIVE DATE                         October 15, 2023


This endorsement modifies only the selected COVERAGE SECTION(s) as indicated by an “X”
below, and if applicable, the GENERAL TERMS AND CONDITIONS as they apply to the
COVERAGE SECTION(s) indicated by an “X” below

       Directors & Officers and Corporate Securities Liability Coverage Section
       Private Company Management Liability Coverage Section
       Investment Adviser Professional Liability Coverage Section
       Investment Fund Coverage Section
       Insurance Company Professional Liability Coverage Section
       Bankers Professional Liability Coverage Section
       Employment Practices Liability Coverage Section
       Fiduciary Liability Coverage Section


                              SECURITIES EXCLUSION
based upon, arising out of, directly or indirectly resulting from or in consequence of, or in any way
involving:

     1. the public offer, sale, solicitation, or distribution of securities of a Company or an
        Outside Entity; or

     2. the actual or alleged violation of any federal, state, local or provincial statute relating
        to securities, including but not limited to the Securities Act of 1933 and the Securities
        and Exchange Act of 1934, or any rules or regulations promulgated thereunder;

  provided, however, this exclusion will not apply to: i) any offer, purchase or sale of securities of
  a Company, whether debt or equity, in a transaction that is exempt from registration under the
  Securities Act of 1933 (an “Exempt Transaction”); or ii) any Claim made by a security holder of
  a Company for the failure of such Company to undertake or complete a public offering or sale of
  securities of such Company.




All other terms, conditions and limitations of this Policy shall remain unchanged.




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ENDORSEMENT NUMBER                  6
NAMED INSURED                       Synapse Financial Technologies, Inc.
POLICY NUMBER                       EFI1203189-02
EFFECTIVE DATE                      October 15, 2023



This endorsement modifies only the selected COVERAGE SECTION(s) as indicated by an “X”
below, and if applicable, the GENERAL TERMS AND CONDITIONS as they apply to the
COVERAGE SECTION(s) indicated by an “X” below

      Directors & Officers and Corporate Securities Liability Coverage Section
      Private Company Management Liability Coverage Section
      Investment Adviser Professional Liability Coverage Section
      Investment Fund Coverage Section
      Insurance Company Professional Liability Coverage Section
      Bankers Professional Liability Coverage Section
      Employment Practices Liability Coverage Section
      Fiduciary Liability Coverage Section



                          RUN-OFF ENDORSEMENT

   1. Item 2. POLICY PERIOD of the General Declarations, and the applicable Coverage
      Section Declarations as indicated above, is amended to read:

      2. POLICY PERIOD:             Inception: October 15, 2023
                                    Expiration: July 15, 2030, or the Six Year Anniversary of
                                    the date of a “Change of Control,” predicated on whichever
                                    date occurs first

      The Policy Period incepts and expires as of 12:01 A.M. at the Named Insured Address.

   2. Section VIII. EXTENDED REPORTING PERIOD of the General Terms and Conditions
      and any reference there-to is deleted in its entirety.

   3. Notwithstanding anything contained in the policy to the contrary, the coverage afforded by
      this policy shall not apply to:
          a. any Wrongful Act, (including any Related Wrongful Acts any of which were),
              committed or alleged to have been committed,
          b. any matter which could involve the payment of Voluntary Compliance Loss
              under the Fiduciary Liability Coverage Section occurring, or
          c. any Derivative Demand

      subsequent to either July 15, 2024, or the date of a “Change of Control,” predicated on
      whichever date occurs first.




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   4. Section VI REPORTING AND NOTICE of the General Terms and Conditions is deleted
      and replaced with the following:
         A. The Insured shall, as a condition precedent to the obligations of the Insurer under
             this policy, give notice to the Insurer by mail or electronically to the address set
             forth in Item 4(b) of the General Declarations of:
                 (i) any Claim made against an Insured,
                 (ii) any matter which could involve the payment of Voluntary Compliance
                       Loss under the Fiduciary Liability Coverage Section, if purchased, or
                 (iii) any Derivative Demand Investigation under the Private Company
                       Management Liability Coverage Section or Public Company Directors &
                       Officers and Entity Securities Coverage Section, if purchased,

               as soon as practicable but no later than July 15, 2030, or on the date of the Six
               Year Anniversary of a “Change of Control,” predicated on whichever dates occurs
               first.

   5. The Premium paid for this policy is deemed fully earned. Section VII CANCELATION of
      the General Terms and Conditions is deleted in its entirety and this policy may not be
      canceled for any reason by either the Insured or the Insurer.

   6. For the avoidance of doubt, the term “Change of Control” is as defined in Section IX.
      CHANGE OF CONTROL in the “General Terms and Conditions” section of this policy




All other terms, conditions and limitations of this Policy shall remain unchanged.




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                    IMPORTANT NOTICE:
1. The insurance policy that you have purchased is being
issued by an insurer that is not licensed by the State of
California. These companies are called “nonadmitted” or
“surplus line” insurers.

2. The insurer is not subject to the financial solvency
regulation and enforcement that apply to California licensed
insurers.

3. The insurer does not participate in any of the insurance
guarantee funds created by California law. Therefore, these
funds will not pay your claims or protect your assets if the
insurer becomes insolvent and is unable to make payments
as promised.

4. The insurer should be licensed either as a foreign insurer
in another state in the United States or as a non-United
States (alien) insurer. You should ask questions of your
insurance agent, broker, or “surplus line” broker or contact
the California Department of Insurance at the toll-free
number 1-800-927-4357 or internet website
www.insurance.ca.gov. Ask whether or not the insurer is
licensed as a foreign or non-United States (alien) insurer and
for additional information about the insurer. You may also
visit the NAIC’s internet website at www.naic.org. The NAIC—
the National Association of Insurance Commissioners—is
the regulatory support organization created and governed by
the chief insurance regulators in the United States.

5. Foreign insurers should be licensed by a state in the
United States and you may contact that state’s department of
insurance to obtain more information about that insurer. You
can find a link to each state from this NAIC internet website:
https://naic.org/state_web_map.htm.
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6. For non-United States (alien) insurers, the insurer should
be licensed by a country outside of the United States and
should be on the NAIC’s International Insurers Department
(IID) listing of approved nonadmitted non-United States
insurers. Ask your agent, broker, or “surplus line” broker to
obtain more information about that insurer.

7. California maintains a “List of Approved Surplus Line
Insurers (LASLI).” Ask your agent or broker if the insurer is
on that list, or view that list at the internet website of the
California Department of Insurance:
www.insurance.ca.gov/01-consumers/120-company/07-
lasli/lasli.cfm.

8. If you, as the applicant, required that the insurance policy
you have purchased be effective immediately, either because
existing coverage was going to lapse within two business
days or because you were required to have coverage within
two business days, and you did not receive this disclosure
form and a request for your signature until after coverage
became effective, you have the right to cancel this policy
within five days of receiving this disclosure. If you cancel
coverage, the premium will be prorated and any broker’s fee
charged for this insurance will be returned to you.
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                                      Applied Financial Lines
                                     Excess Liability Insurance
                                        Policy Declarations

    POLICY NUMBER: BFLXPFTCA010300_020145_03             RENEWAL OF NUMBER: BFLXPFTCA011200_020145_02

1. Named Insured:        Synapse Financial Technologies, Inc.
    Address:             101 2nd Street, Suite 525
                         San Francisco, CA 94105

2. Policy Period:        From: October 15, 2023
                         To:     July 15, 2024

                         at 12:01 a.m. at the Named Insured Address.

3. Limit of Liability:   $1,000,000 per Claim and in the aggregate for the Policy Period in excess of
                         the attached Schedule of Underlying Insurance.

4. Annual Premium: $227,500

5. Insurer:              Texas Insurance Company

6. Claims Address:       email: newclaim@auw.com

                         mail:   Applied Risk Services, Inc. – if Named Insured Address is outside NY
                                 Applied Risk Services of New York, Inc. – if Named Insured Address is in NY
                                 PO Box 3216
                                 Omaha, NE 68103-0216

7. In accordance with the payment of the premium and subject to all the terms of this policy, we agree
   with you to provide the insurance as stated in this policy.

    This policy consists of the following coverage: excess liability insurance.

8. Forms and endorsement(s) are made a part of this policy at the time of issue.

    These declarations, form and endorsements, if any, complete the above numbered policy.
    “Application”, “Loss”, “Claim”, “Defense Costs”, and all other bold terms, not otherwise defined
    herein, shall have the meanings set forth for them, or an equivalent term, in the “Followed Policy”.




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                                                       Signed:

                                                            JEFFREY A. SILVER, Secretary
                                                                  Authorized Representative




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                                                              SCHEDULE OF UNDERLYING INSURANCE
                                                                      BFLXPFTCA010300_020145_03



                        SCHEDULE OF UNDERLYING INSURANCE

  Underlying Insurance Carrier            Policy Number         Limit of Liability

  *Primary Policy: Certain Underwriters   EFI1203189-02         $1,000,000
  at Lloyd’s of London/Associated
  Industries Insurance Company




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                                                                                           SERVICE OF SUIT
                                                                                BFLXPFTCA010300_020145_03



                                   SERVICE OF SUIT CLAUSE

  It is agreed that in the event of the failure of the Underwriters hereon to pay any amount claimed
  to be due hereunder, the Underwriters hereon, at the request of the Insured (or Reinsured), will
  submit to the jurisdiction of a Court of competent jurisdiction within the United States. Nothing in
  this Clause constitutes or should be understood to constitute a waiver of Underwriters' rights to
  commence an action in any Court of competent jurisdiction in the United States, to remove an
  action to a United States District Court, or to seek a transfer of a case to another Court as permitted
  by the laws of the United States or of any State in the United States.

  It is further agreed that service of process in such suit may be made upon

  Texas Insurance Company
  Attn: General Counsel
  10805 Old Mill Road
  Omaha, NE 68154

  and that in any suit instituted against any one of them upon this contract, Underwriters will abide
  by the final decision of such Court or of any Appellate Court in the event of an appeal.

  The above-named are authorized and directed to accept service of process on behalf of
  Underwriters in any such suit and/or upon the request of the Insured (or Reinsured) to give a written
  undertaking to the Insured (or Reinsured) that they will enter a general appearance upon
  Underwriters’ behalf in the event such a suit shall be instituted.

  Further, pursuant to any statute of any state, territory or district of the United States which makes
  provision therefor, Underwriters hereon hereby designate the Superintendent, Commissioner or
  Director of Insurance or other officer specified for that purpose in the statute, or his successor or
  successors in office, as their true and lawful attorney upon whom may be served any lawful process
  in any action, suit or proceeding instituted by or on behalf of the Insured (or Reinsured) or any
  beneficiary hereunder arising out of this contract of insurance (or reinsurance), and hereby
  designate the above-named as the person to whom the said officer is authorized to mail such
  process or a true copy thereof.




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                                                                      EXCESS LIABILITY POLICY
                                                                                  BFLXPFTCA010300_020145_03


  In consideration of the premium paid and in reliance on the completeness of the Application, all
  statements made and information furnished by the Insureds in connection with the underwriting of
  this Policy, and subject to the terms and conditions of this Policy, the Insurer, and the Named
  Insured, on behalf of all Insureds, agree as follows:

  I. INSURING CLAUSE
  This Policy shall provide to the Insureds insurance coverage for any Loss resulting from Claims and
  shall attach to the Insurer only: (i) in the event of the exhaustion of the Underlying Policy(ies) by
  reason of payment by, on behalf of, or in place of, the insurers of the Underlying Policy(ies) paying
  in legal currency, which, except for the amount thereof, would have been covered hereunder;
  and (ii) after the Insureds shall have paid any applicable retention or deductible under the Primary
  Policy.

  The Limit of Liability set forth in Item 3. of the Declarations shall be the maximum amount payable
  by the Insurer under this Policy.

  II. TERMS AND CONDITIONS
  A.   This Policy, except as stated herein, is subject to all terms, conditions and limitations as
       contained in the Followed Policy at the inception of this Policy, and to the extent coverage
       is further limited or restricted thereby, in any other Underlying Policy(ies).

  B.   If any coverage under the Underlying Policy(ies) is subject to a sub-limit of liability, this Policy
       shall not apply to such coverage, but the Insurer shall recognize any Loss paid under such
       coverage in any manner described in the Insuring Clause as reducing the Underlying Limit by
       the amount of such paid Loss.

  C.   If any Underlying Policy(ies) is changed or terminated, the Insurer shall not be liable under this
       Policy to a greater extent than it would have been had such Underlying Policy(ies) been so
       maintained unless the Insurer agrees to the change in writing. The risk of collectability of the
       Underlying Policy(ies) whether because of insolvency of an underlying insurer or for any other
       reason is expressly retained by the Insureds.

  D.   Notice to the Insureds may be given to the Named Insured at the address shown in Item 1. of
       the Declarations.

       Notice to any insurer of an Underlying Policy(ies) shall not constitute notice to the Insurer. With
       respect to any Claim, circumstance that could give rise to a Claim, or other matter as to
       which insurance may be sought under this Policy, the Insured(s) shall, as a condition
       precedent to any rights to payment under this Policy, give the Insurer notice in writing, at the
       address shown in Item 6 of the Declarations, contemporaneously with the notice provided
       under the applicable Underlying Policy(ies).



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  E.   The Insurer may, at its sole discretion, participate in the investigation, defense or settlement of
       any Claim or other matter to which coverage under this Policy could apply even if the
       Underlying Limit has not been exhausted. No action by any other insurer shall bind the Insurer
       under this Policy. The Insurer shall not be liable under this Policy for any settlements, stipulated
       judgments, or Defense Costs to which the Insurer has not consented, which consent shall not
       be unreasonably withheld.

  F.   If the Insured(s) elect and are granted an extended reporting period under the Followed
       Policy, then the Insured(s) may elect an extended reporting period under this Policy under
       the terms and conditions of the Followed Policy.

  III. DEFINITIONS
  A.   Followed Policy means the policy in the attached Schedule of Underlying Insurance with a
       “*” at the beginning of its row.

  B.   Named Insured means the entity named in Item 1 of the Declarations.

  C.   Primary Policy means the first listed policy in the attached Schedule of Underlying Insurance.

  D.   Policy Period means the period of time specified in Item 2 of the Declarations, subject to prior
       termination in accordance with the Primary Policy.

  E.   Underlying Limit means an amount equal to the aggregate of all limits of liability, as set forth
       in the Schedule of Underlying Insurance, for all Underlying Policy(ies), plus any applicable
       retention or deductible under the Primary Policy.

  F.   Underlying Policies means those policies listed in the attached Schedule of Underlying
       Insurance.




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                                                                            Policy      Endorsement
 Endorsement
                   Named Insured               Policy Number              Effective       Effective
     No.
                                                                            Date            Date
       1         Synapse Financial     BFLXPFTCA010300_020145_03         10/15/2023      10/15/2023
                 Technologies, Inc.


              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


       PENDING AND PRIOR LITIGATION EXCLUSION ENDORSEMENT

In consideration of the payment of the premium for this Policy, it is hereby understood and agreed
that the Insurer shall have no liability to make payment for any Loss in connection with any Claim
alleging, arising out of, based upon or attributable to, as of 07/21/2016, any pending or prior (i)
litigation; (ii) administrative or regulatory proceeding; or (iii) investigation of which an Insured had
notice, or alleging or based upon the same or similar acts alleged in such pending or prior (i)
litigation; (ii) administrative or regulatory proceeding; or (iii) investigation.

As used in this endorsement, “Insured” shall have the meaning set forth in the Followed Policy.


All other terms and conditions remain unchanged.




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                                                                         Policy      Endorsement
 Endorsement
                  Named Insured              Policy Number             Effective       Effective
     No.
                                                                         Date            Date
       2         Synapse Financial    BFLXPFTCA010300_020145_03       10/15/2023      10/15/2023
                 Technologies, Inc.

             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                      FULLY EARNED PREMIUM ENDORSEMENT
In consideration of the payment of the premium for this Policy, it is hereby understood and agreed
that the entire premium amount as set forth in Item 4 of the Declarations of this Policy is deemed
to be fully earned and non-refundable as of the inception date of this Policy.

Notwithstanding the paragraph above, if this Policy is cancelled by the Insurer in accordance
with the provisions of this Policy and any applicable state law, the Named Insured shall be entitled
to a return premium amount, such amount to be determined by any cancellation provision of this
Policy.


All other terms and conditions remain unchanged.
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                                                                             Policy      Endorsement
 Endorsement
                   Named Insured               Policy Number               Effective       Effective
     No.
                                                                             Date            Date
       3          Synapse Financial     BFLXPFTCA010300_020145_03         10/15/2023      10/15/2023
                  Technologies, Inc.

              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


     RUNOFF COVERAGE/PROVISION FOLLOW FORM ENDORSEMENT
                    (ADDITIONAL PREMIUM)
In consideration of the additional premium payment of $0, which shall be fully earned at the
effective date of this endorsement, it is hereby understood and agreed that coverage under this
Policy follows all of the Followed Policy’s terms, conditions and limitations, including, but not limited
to, the coverage or provision(s) referenced in the below Followed Schedule of this endorsement,
subject to the terms, conditions and limitations of this Policy:

FOLLOWED SCHEDULE

 Followed Coverage Parts
 Endorsement CG 136 1223 RUN-OFF ENDORSEMENT: 6 year term, to effect on
 July 15, 2024 or the date of a “Change of Control”, whichever occurs first


All other terms and conditions remain unchanged.




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                        EXHIBIT 3
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     November 18, 2024

     achow@mololamken.com

     Anden Chow

     Re:     Coverage Position

             Matter:                    United States Department of Justice Subpoena
             Claim No:                  AMRR284
             Policy No:                 EFI1203189-02
             Insurance Co:              Underwriters at Lloyd’s of London; Associated Industries Insurance
             Insured:                   Synapse Financial Technologies, Inc.

Dear Mr. Chow:


As you recall, Euclid Financial is the program administrator and authorized claims representative for Certain
Underwriters at Lloyd’s of London and Associated Industries Insurance Company in connection with the above
referenced matter submitted for coverage under the Directors & Officers and Corporate Securities Liability
Policy issued to the Named Insured 1 (the “Policy”). We recognize that circumstances may change. As such,
any coverage position set forth in this letter is preliminary in nature and is not intended to be exclusive or
exhaustive.

As explained herein, the Policy provides coverage to Victor Medeiros for the submitted matter.

Please know that Underwriters value their relationship and welcome any questions or comments you may
have regarding their coverage position. After you have reviewed this letter, please feel free to contact us if
you would like to discuss further.

Matter Submitted

We have received a subpoena dated October 16, 2024 to Victor Medeiros, former Corporate Controller and
Senior Director of Finance and Accounting of Synapse Financial Technologies, Inc. to appear in front of a Grand
Jury of the People of the United States for the Southern District of New York on November 30, 2024 in
connection with an official criminal investigation of a suspected felony. The subpoena also seeks documents
for production on or before the return date. The subpoena is investigating violations of 15 U.S.C. §§ 78j(b) &

1
    Terms in Bold are defined within the Policy. We encourage you to review this letter with the Policy.
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78ff and 17 C.F.R. §240.10b-5; 15 U.S.C. §§ 7202, 7242, and 78f and 17 C.F.R. § 240.13b-2; 18 U.S.C. §§ 371,
1343, 1348, & 1349.

The Policy

Underwriters issued Policy No. EFI1203189-02 for the policy period October 15, 2023 to July 15, 2024
(Extended to July 15, 2030) (the “Policy”) with a Directors & Officers and Corporate Securities Liability Limit of
$1,000,000 subject to a retention of $1,000,000 per Claim for Insuring Agreements B&C (the “Policy”).

The Directors & Officers and Corporate Securities Liability Coverage Section provides as follows:

Directors & Officers and Corporate Securities Liability Coverage Section

In consideration of the premium charged, in reliance upon the statements made by the Insureds in the
Application, which forms a part of this policy, and subject to all terms and conditions, the Insurer agrees as
follows:

I. Insuring Agreements

Coverage A: Individual Insurance Coverage

The Insurer shall pay Loss of an Individual Insured arising from a Claim first made against such Individual
Insured during the Policy Period or the Extended Reporting Period, if applicable, for any Wrongful Act of such
Individual Insured, except when and to the extent that a Company has indemnified the Individual Insured for
such Loss.

Coverage B: Company Reimbursement Coverage

The Insurer shall pay Loss of a Company arising from a Claim first made against an Individual Insured during
the Policy Period or the Extended Reporting Period, if applicable, for any Wrongful Act of such Individual
Insured, but only when and to the extent that such Company has indemnified such Individual Insured for such
Loss.

Coverage C: Company Coverage

The Insurer shall pay Loss of a Company arising from a Securities Claim first made against a Company during
the Policy Period or the Extended Reporting Period if applicable for any Wrongful Act of a Company.

II. Definitions

In addition to the Definitions in the General Terms and Conditions, the following terms whenever set forth in
boldface type in this Coverage Section, whether in singular or in plural, shall have the meanings indicated.

A. Claim means:

1. a written demand, other than a Derivative Demand, for monetary, nonmonetary or injunctive relief
(including any request to toll or waive any statute of limitations and including any demand for mediation,
arbitration or any other alternative dispute resolution process);
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2. a civil, criminal, administrative, regulatory or arbitration proceeding for monetary, nonmonetary or
injunctive relief which is commenced by:
(i) service of a complaint or similar pleading;
(ii) return of an indictment, information or similar document (in the case
of a criminal proceeding); or
(iii) receipt or filing of a notice of charges;

3. a civil, criminal, administrative or regulatory investigation of an Individual Insured:
(i) once such Individual Insured is identified in writing by such investigating authority or enforcement body as
a person against whom a proceeding described in subparagraph 2 of this Definition may be
commenced; or
(ii) in the case of an investigation by the Securities and Exchange Commission(“SEC”) or a similar state or
foreign government authority, after:
(a) the service of a subpoena upon such Individual Insured; or
(b) the Individual Insured is identified in a written “Wells” or other notice from the SEC or a similar state or
foreign government authority that describes actual or alleged violations of laws by such Individual Insured;

4. a formal request for the extradition of an Individual Insured in any country by another country for trial or to
answer a criminal accusation.

G. Individual Insured means any
1. Executive;
2. Employee; or
3. Outside Entity Executive

D. Employee means any past, present or future employee of a Company, whether such employee is in a
supervisory, co-worker or subordinate position or otherwise, including:

1. any part-time, seasonal and temporary employee,
2. volunteer, individual who is contracted to perform work for a Company, or independent contractor for a
Company in his or her capacity as such …

F. Executive means

1. any natural person who was, now is or shall become a duly elected or appointed director, officer, trustee,
governor, general partner, managing general partner, venture partner, administrative general partner,
principal, management committee member of a duly constituted committee, or member of the Board of
Managers of a Company;
2. any past, present or future person in a duly elected or appointed position in a Company which is organized
and operated in a jurisdiction other than the United States of America or any of its territories or possessions
that is equivalent to an executive position listed in paragraph 1. of this Definition; or
3. any past, present or future General Counsel, Chief Compliance Officer, or Risk Manager (or equivalent
position) of the Named Insured.

G. Individual Insured means any: 1. Executive; 2. Employee; or 3. Outside Entity Executive.

H. Insured means any: 1. Company; or 2. Individual Insured.
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J. Loss means:

1. the amount that any Insured becomes legally obligated to pay in connection with any covered Claim,
including, but not limited to: (i) judgments (including pre-judgment and post-judgment interest on any
covered portion thereof) and settlements; and (ii) damages, including punitive or exemplary damages and the
multiple portion of multiplied damages relating to punitive or exemplary damages to the extent allowed by
applicable law. The enforceability of this subparagraph (ii) shall be governed by such applicable law that most
favors coverage for such punitive, exemplary and multiple damages;
2. Defense Costs …

P. Wrongful Act means

1. any actual or alleged breach of duty, neglect, error, misstatement, misleading statement, omission or act,
including but not limited to an Employment Practices Violation, by an Individual Insured in his or her capacity
as such, or any matter claimed against such Individual Insured solely by reason of his or her status as an
Executive, Employee, or Outside Entity Executive; or

2. any actual or alleged breach of duty, neglect, error, misstatement, misleading statement, omission or act by
a Company in connection with a Securities Claim.

We will acknowledge the matter as a Claim against Mr. Medeiros as the subpoena appears to be a regulatory
investigation commenced by service of a subpoena and alleging Wrongful Acts as defined by the Policy.

Notwithstanding Underwriters’ acknowledgement that the Policy is triggered by the Subpoena served on Mr.
Medeiros, we note that certain provisions, definitions, exclusions and/or endorsements of the Policy could
limit and/or preclude coverage for these matters, depending on developments in these investigations.

Please refer to the following exclusions which may be applicable:

III. Exclusions

The Insurer shall not be liable to make any payment for Loss in connection with any Claim made against any
Insured:
A. alleging, arising out of, based upon or attributable to:
1. gaining of any profit, remuneration or advantage to which the Insured was not legally entitled, if a final,
non-appealable adjudication in any underlying proceeding establishes the gaining of such profit, remuneration
or advantage; or
2. committing of any deliberate criminal or deliberate fraudulent act, or any willful violation of any statute,
rule or law, if a final, non-appealable adjudication in any underlying proceeding establishes that such
deliberate criminal or deliberate fraudulent act, or willful violation of statute, rule or law was committed. For
purposes of determining the applicability of this Exclusion, (i) the facts pertaining to and knowledge possessed
by any Insured shall not be imputed to any Individual Insured; and (ii) only facts pertaining to and knowledge
possessed by any past, present or future chief executive officer or chief financial officer shall be imputed to
such Company;

PROFESSIONAL SERVICES E&O EXCLUSION
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The Insurer shall not be liable to pay any Loss from any Claim made against any Insured alleging, arising out
of, based upon or attributable to any actual or alleged error, misstatement, misleading statement, act,
omission, neglect or breach of duty committed, attempted or allegedly committed or attempted in connection
with the rendering of, or actual or alleged failure to render, any professional services for others by any person
or entity otherwise entitled to coverage under this Coverage Section; provided, however, that this Exclusion
shall not apply to Loss in connection with a Securities Claim.

MONEY LAUNDERING EXCLUSION

In consideration of the premium charged, it is agreed that the Insurer shall not be liable to make any payment
for Loss in connection with any Claim made against any Insured alleging, arising out of, based upon or
attributable to any act or acts (or alleged act or acts) of Money Laundering, or any act or acts (or alleged act or
acts) which are in breach of and/or constitute an offense or offenses under any money laundering legislation.
Money Laundering means:
(i) the concealment, or disguise, or conversion, or transfer, or removal of criminal property (including
concealing or disguising its nature, source, location, disposition, movement or ownership or any rights relating
thereto); or
(ii) the entering into or becoming in any way concerned in an arrangement which is known or suspected to
facilitate (by whatever means) the acquisition, retention, use or control of criminal property by or on behalf of
another person; or
(iii) the acquisition, use or possession of criminal property; or
(iv) any act which constitutes an attempt, conspiracy or incitement to commit any act or acts mentioned in the
foregoing paragraphs (i), (ii) or (iii); or
(v) any act which constitutes aiding, abetting, counselling or procuring the commission of any act or acts
mentioned in the foregoing paragraphs (i), (ii) or (iii).

SECURITIES EXCLUSION

based upon, arising out of, directly or indirectly resulting from or in consequence of, or in any way involving:
1. the public offer, sale, solicitation, or distribution of securities of a Company or an Outside Entity; or
2. the actual or alleged violation of any federal, state, local or provincial statute relating to securities, including
but not limited to the Securities Act of 1933 and the Securities and Exchange Act of 1934, or any rules or
regulations promulgated thereunder; provided, however, this exclusion will not apply to: i) any offer, purchase
or sale of securities of a Company, whether debt or equity, in a transaction that is exempt from registration
under the Securities Act of 1933 (an “Exempt Transaction”); or ii) any Claim made by a security holder of a
Company for the failure of such Company to undertake or complete a public offering or sale of securities of
such Company.

Finally, Underwriters note that the definition of Loss could also limit and/or preclude coverage for this matter.

The D&O Coverage Section of the Policy provides that:

Loss shall not include, other than Defense Costs: 1. any amount for which the Insureds are not financially
liable or which are without legal recourse to the Insureds; 1. [sic] matters which may be deemed uninsurable
under the law pursuant to which this policy shall be construed, provided that the Insurer shall not assert that,
in a Securities Claim alleging violations of Section 11, 12 or 15 of the Securities Act of 1933, as amended, the
portion of any amounts incurred by Insureds which is attributable to such violations constitutes uninsurable
loss, and, unless precluded from doing so in a court order, shall treat that portion of all such settlements,
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judgments and Defense Costs as constituting Loss under this Coverage Section; 2. civil or criminal fines or
penalties; 3. taxes or tax penalties (whether imposed by federal, state, local or other governmental authority);
4. the costs and expenses of complying with any injunctive relief or other form of nonmonetary relief;… 6. any
amounts owed pursuant to the terms of any contract or agreement, including any amounts related to any
such exposures based on the contract or agreement … 8. any reimbursement required under the Sarbanes-
Oxley Act of 2002 or any rules, regulations or amendments promulgated thereunder, or any other type of
reimbursement, restitution or disgorgement.

Defense Costs, Defense Counsel, Settlements & Judgments

A. Defense

The Insurer does not assume any duty to defend a Claim. The Insureds shall defend and contest any Claim
made against them. An Insured shall not retain defense counsel or incur any Defense Costs without the prior
written consent of the Insurer, such consent not to be unreasonably withheld. An Insured may select a
defense counsel different from that selected by other Insureds if such selection is required due to an actual
conflict of interest and only with the express prior written consent of the Insurer.

B. Advancement

The Insurer shall advance Defense Costs in excess of the applicable Retention on behalf of the Insured prior to
final disposition of the Claim. Such advanced payments by the Insurer shall be repaid to the Insurer by each
and every Insured, severally according to their respective interests, in the event and to the extent that any
such Insured shall not be entitled under the Terms and Conditions of this Coverage Section to payment of
such Loss.

C. Cooperation

The Insurer shall have the right to associate fully and effectively with each and every Insured in the defense of
any Claim that appears reasonably likely to involve the Insurer, including, but not limited to, negotiating a
settlement. Each and every Insured agrees to provide such information as the Insurer may reasonably require
and to give the Insurer full cooperation and take such actions which, in such Insurer’s judgment, are deemed
necessary and practicable to prevent or limit Loss arising from any Wrongful Act.

D. Prior Written Consent

The Insured shall not admit or assume any liability, enter into any settlement agreement, stipulate to any
judgment, or incur any Defense Costs or Investigation Costs without the prior written consent of the Insurer.
If the Insured admits or assumes any liability in connection with any Claim without the consent of the Insurer,
then the Insurer shall not have any obligation to pay Loss with respect to such Claim. Only those settlements,
stipulated judgments, Defense Costs and Investigation Costs which have been consented to by the Insurer
shall be recoverable as Loss under the terms of this Coverage Section. The Insurer shall not unreasonably
withhold any consent required under this Coverage Section, provided that in all events the Insurer may
withhold consent to any settlement, stipulated judgment or Defense Costs, or any portion thereof, to the
extent such Claim (or any portion thereof) is not covered under the terms of this Coverage Section. In
addition, the Insured shall not take any action which prejudices the Insurer’s rights under this Coverage
Section.
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Underwriters will reimburse Defense Costs from the date Underwriters was notice of the Claim at issue. We
note that Synapse is not in a position to indemnify Mr. Medeiros pursuant to the bankruptcy, thereby
triggering Insuring Clause A which does not maintain a self insured retention. We approve Anden Chow of
Molo Lanken to defend the matter and approve the rates previously provided. Please refer to the enclosed
billing guidelines with respect to the defense of the matter. Please also keep Underwriters apprised of the
status of these investigations and let us know if you receive any further information or documentation relative
to matters referenced herein.

Reservation

Please be advised that Underwriters reserve all rights and defenses that they may have under the Policy, at
law and in equity, whether or not specifically referenced herein, including the right to deny coverage upon any
terms, conditions, exclusions, endorsements and other provisions of the Policy. Underwriters specifically
reserve the right to amend and/or supplement this correspondence as circumstances may warrant. This letter
is not, and should not be construed as, a waiver of any terms, conditions, exclusions or other provisions of the
Policy, or any other policies of insurance issued by Underwriters.

If you have any questions or concerns, please feel free to contact me directly. Thank you.

      Very Truly Yours,



      Claims Counsel
      908-370-1354
      elevine@euclidfinancial.com


cc:      Malia.shappell@alliant.com
         Brendan.quinlan@alliant.com
         Lena.lee@alliant.com
         Steven.cuccinelli@alliant.com
         Drew.logue@alliant.com
         Specialtyclaims@alliant.com
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                                       PROOF OF SERVICE OF DOCUMENT

I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address
is: Echo Park Legal, APC, 2210 W Sunset Blvd. #301, Los Angeles, CA 90026.

A true and correct copy of the foregoing document entitled (specify):_________________________________
___Notice of Motion and Motion for Relief from the Automatic Stay Under 11 U.S.C. 362 will be served or was
served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner
stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document.
On (date) January 21, 2025, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding
and determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at
the email addresses stated below:
                                                              X Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) January 21, 2025 I caused to be served the following persons and/or entities at the last known
addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is
filed.

I caused the document noted above to be served by utilizing the services of BK Attorney Service, LLC d/b/a
certificateofservice.com, an Approved Bankruptcy Notice Provider authorized by the United States Courts
Administrative Office, pursuant to Fed.R.Bankr.P 9001(9) and 2002(g)(4) as provided in the following pages

                                                                                      X Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
   EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
   on (date) ____, I served the following persons and/or entities by personal delivery, overnight mail service, or
   (for those who consented in writing to such service method), by facsimile transmission and/or email as
   follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the
   judge will be completed no later than 24 hours after the document is filed.
                                                                   Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


1/21/2025                  M. Douglas Flahaut                                                 /s/ M. Douglas Flahaut
Date                       Printed Name                                                       Signature

             This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
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June 2012                                                            F 9013-3.1.PROOF.SERVICE




TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):


    •   Ron Bender rb@lnbyg.com                            •   Norman Norman Lueck
    •   David A Berkley david.berkley@wbd-us.com,              dennis.lueck@akerman.com,
        mary.koo@wbd-us.com;Sul.Lee@wbd-us.com                 katie.solem@akerman.com
    •   J Scott Bovitz bovitz@bovitz-spitzer.com           •   Jelena McWilliams (TR)
    •   Rudy J Cerone rcerone@mcglinchey.com,                  jmcwilliams@cravath.com, mao@cravath.com
        lgraff@mcglinchey.com;jingargiola@mcglinchey.c     •   Krikor J Meshefejian kjm@lnbyg.com
        om                                                 •   Fred Neufeld fneufeld@stradlinglaw.com,
    •   Sara Chenetz schenetz@perkinscoie.com,                 tingman@sycr.com
        docketLA@perkinscoie.com;cmallahi@perkinscoi       •   Valerie Bantner Peo
        e.com;jkulow@perkinscoie.com;chenetz-sara-             vbantnerpeo@buchalter.com
        perkins-coie-                                      •   David M Poitras dpoitras@bg.law
        8670@ecf.pacerpro.com;rleibowitz@perkinscoie.c     •   Jeremy V Richards jrichards@kbkllp.com,
        om                                                     bdassa@pszjlaw.com;imorris@pszjlaw.com
    •   Russell Clementson                                 •   Holly Roark holly@roarklawboise.com,
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    •   Andrew Michael                                     •   Paul M Rosenblatt
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        philip.dobbs@hklaw.com;hapi@hklaw.com;reena.           moroberts@ktslaw.com
        kaur@hklaw.com                                     •   Thomas B Rupp trupp@kbkllp.com
    •   Michael G. Farag mfarag@gibsondunn.com             •   Brandy A Sargent brandy.sargent@klgates.com,
    •   Jacqueline Foroutan                                    litigation.docketing@klgates.com;janna.leasy@klg
        jacqueline.foroutan@akerman.com,                       ates.com
        akermanlas@akerman.com                             •   Callan C Searcy bk-
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    •   Michael H Goldstein                                    zshechtman@ecf.inforuptcy.com;hannah.richmon
        mgoldstein@goodwinprocter.com,                         d@saul.com;LitigationDocketing@saul.com
        ASchaefer@goodwinlaw.com                           •   Jason D Strabo jstrabo@mwe.com,
    •   Michael I. Gottfried mgottfried@elkinskalt.com,        jbishopjones@mwe.com
        cavila@elkinskalt.com,lwageman@elkinskalt.com,     •   United States Trustee (SV)
        docketing@elkinskalt.com,tparizad@elkinskalt.co        ustpregion16.wh.ecf@usdoj.gov
        m                                                  •   Jeffrey C Wisler jwisler@connollygallagher.com,
    •   Steven T Gubner sgubner@bg.law, ecf@bg.law             dperkins@connollygallagher.com
    •   Ralph P Guenther                                   •   Claire K Wu claire.wu@pillsburylaw.com,
        rguenther@guentherlawgroup.com                         renee.evans@pillsburylaw.com;docket@pillsburyl
    •   Robert T. Honeywell                                    aw.com
        robert.honeywell@klgates.com                       •   Beth Ann R. Young bry@lnbyg.com,
    •   Lance N Jurich ljurich@loeb.com,                       bry@lnbyb.com
        pmatsuda@loeb.com;ladocket@loeb.com;ljurich@
        ecf.courtdrive.com;fmckeown@loeb.com
    •   Jane Kim jkim@kellerbenvenutti.com
    •   Monica Y Kim myk@lnbyg.com,
        myk@ecf.inforuptcy.com
    •   Jeffrey C Krause jkrause@gibsondunn.com,
        dtrujillo@gibsondunn.com;jstern@gibsondunn.co
        m
    •   William J Levant wlevant@kaplaw.com,
        wlevant@gmail.com
    •   Adam A Lewis alewis@mofo.com, adam-lewis-
        3473@ecf.pacerpro.com
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 1

 2

 3
                                       UNITED STATES BANKRUPTCY COURT
 4                                      CENTRAL DISTRICT OF CALIFORNIA
                                         SAN FERNANDO VALLEY DIVISION
 5
        IN RE:                                                           CASE NO: 24-10646
 6
        Synapse Financial Technologies, Inc.                             CERTIFICATE OF SERVICE
                                                                         DECLARATION OF MAILING
 7
                                                                         Chapter: 11
 8

 9

10

11   On 1/21/2025, a copy of the following documents, described below,

     Notice of Motion and Motion for Relief From the Automatic Stay Under 11 U.S.C. 362
12

13

14

15

16

17

18

19   were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient
     postage thereon to the parties listed on the mailing list exhibit, a copy of which is attached hereto and incorporated as if fully set forth
20   herein.
     The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above
21   referenced document(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of
     Service and that it is true and correct to the best of my knowledge, information, and belief.
22
     DATED: 1/21/2025
23

24

25
                                                                  Miles Wood
26                                                                BK Attorney Services, LLC
                                                                  d/b/a certificateofservice.com, for
27                                                                M. Douglas Flahaut
                                                                  Echo Park Legal, APC
28                                                                2210 Sunset Blvd. #301
                                                                  Los Angeles, CA 90026
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Parties with names struck through or labeled CM/ECF SERVICE were not served via First Class USPS Mail Service.


SYNAPSE FINANCIAL TECHNOLOGIES, INC.     1505 CORPORATION NATIONAL REGISTERED     DARREN AZMAN
21255 BURBANK BOULEVARD SUITE 120        AGENTS, INC.                             ONE VANDERBILT AVENUEŸ
WOODLAND HILLS, CA 91367-0000            ATTN: AMANDA GARCIA                      NEW YORK, NY 10017-3852
                                         330 N BRAND BLVD GLENDALE, CA 91203




JERA L BRADSHAW                          NEDA SHAPOURIAN                          JAKE JUMBECK
GREENBERG TRAURIG LLP                    UNIT21, INC.                             MCDERMOTT WILL & EMERY LLP
2200 ROSS AVE #5200Ÿ                     49 GEARY ST. STE 200Ÿ                    444 W. LAKE STREET, SUITE 4000Ÿ
DALLAS, TX 75201                         SAN FRANCISCO, CA 94108                  CHICAGO, CA 60606-0029




ROBERT J LABATE                          NEDA SHAPOURIAN                          KROLL ASSOCIATES, INC.
400 SOUTH HOPE STREET, 8TH FLOORŸ        UNIT21, INC.                             600 3RD AVE. FL 4
LOS ANGELES, CA 90071                    49 GEARY ST. STE 200Ÿ                    NEW YORK, NY 10016
                                         SAN FRANCISCO, CA 94108




THOMSON REUTERS                          LINEAGE BANK                             AMAZON WEB SERVICES, INC.
PO BOX 6292 ? WEST PAYMENT CENTER        3359 ASPEN GROVE DRIVE SUITE 150         PO BOX 84023
CAROL STREAM, IL 601-6292                FRANKLIN, TN 37067                       SEATTLE, WA 98124-8423




JONES DAY                                TRULIOO INFORMATION SERVICES, INC        MASTERCARD INTERNATIONAL
555 CALIFORNIA STREET 26TH FLOOR         400-114 EAST 4TH ST                      2200 MASTERCARD BOULEVARD
SAN FRANCISCO, CA 94104-1500             VANCOUVER, CA 94104                      O' FALLON, MO 63368-7263




GOODWIN PROCTER LLP                      LOWENSTEIN SANDLER LLP                   FIRST HORIZON BANK
THREE EMBARCADERO CENTER                 ONE LOWENSTEIN DRIVE                     4385 POPLAR AVENUE
SAN FRANCISCO, CA 94111                  ROSELAND, NJ 07068                       ATTN: PROCTOR FORD
                                                                                  MEMPHIS, TN 38117




BERGESON LLP                             SLOANNE & COMPANY, LLC                   NEWFRONT INSURANCE, INC
111 MARKET STREET, SUITE 600             285 FULTON STREET 69TH FLOOR             55 2ND STREET, 18TH FLOOR
SAN JOSE, CA 95113                       NEW YORK, NY 10007                       SAN FRANCISCO, CA 94105




LINKEDIN CORPORATION                     FISERV, INC                              PERFORMILINE, INC
62228 COLLECTIONS CENTER DRIVE           PO BOX 208457                            58 SOUTH STREET 2ND FLOOR
CHICAGO, IL 60693-0622                   DALLAS, TX 75320-8457                    MORRISTOWN, NJ 07960




DIGITAL 365 MAIN, LLC                    TABAPAY, INC                             FLEMINGMARTIN, LLC
365 MAIN STREET SUITE 1500               605 ELLIS STREET 110                     822 HARTZ WAY SUITE 215
SAN FRANCISCO, CA 94105                  MOUNTAIN VIEW, CA 94043                  DANVILLE, CA 94526
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YOTTA TECHNOLOGIES INC
33 IRVING PL
NEW YORK, NY 10003
